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                EXHIBIT B
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
PERFORMANCE POWERSPORTS GROUP                            ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                  )
                                                         )
                                   Debtors.              ) (Jointly Administered)
                                                         )

   ORDER (I) APPROVING THE DISCLOSURE STATEMENT; (II) FIXING THE
  VOTING RECORD DATE; (III) APPROVING THE NOTICE AND OBJECTION
PROCEDURES IN RESPECT OF CONFIRMATION OF THE PLAN; (IV) APPROVING
SOLICITATION PACKAGES AND PROCEDURES FOR DISTRIBUTION THEREOF;
    (V) APPROVING THE FORMS OF BALLOTS AND ESTABLISHMENT OF
 PROCEDURES FOR VOTING ON THE PLAN; (VI) APPROVING THE FORMS OF
  NOTICES TO NON-VOTING CLASSES UNDER THE PLAN; (VII) FIXING THE
VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN; AND (VIII) APPROVING
   PROCEDURES FOR VOTE TABULATIONS IN CONNECTION THEREWITH

         Upon the Motion, dated May 2, 2023, (the “Motion”)2 of the debtors and

debtors-in-possession in the above-referenced chapter 11 cases (collectively, the “Debtors”),

pursuant to sections 105, 502, 1125, and 1128 of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 3017, 3020, 9013, 9014, and 9021 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1, 3017-1, 3020-1, 9013-1, and

9021-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), for an order (i) approving the Disclosure

Statement With Respect to Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
    Capitalized terms used but otherwise not defined herein shall have the meaning ascribed to them in the Motion.

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Bankruptcy Code, dated May 2, 2023 (as the same may be further amended and modified, the

“Disclosure Statement”) under section 1125 of the Bankruptcy Code; (ii) fixing a voting record

date (the “Voting Record Date”); (iii) approving the notice of hearing and objection procedures

(the “Confirmation Hearing Notice”), substantially in the form attached hereto as Exhibit 1, with

respect to the confirmation of the Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of

the Bankruptcy Code, dated May 2, 2023 (as the same may be further amended and modified, the

“Plan”), and setting the date for the hearing on confirmation of the Plan; (iv) approving the

Solicitation Packages and procedures for distribution thereof; (v) approving the form of Ballots,

attached hereto as Exhibit 2, Exhibit 3, Exhibit 5, and Exhibit 5, and establishing procedures

for voting on the Plan; (vi) approving the form of notices to the non-voting unimpaired classes

under the Plan, attached hereto as Exhibit 6, and to the non-voting impaired classes under the

Plan, attached hereto as Exhibit 7; (vii) fixing the voting deadline for creditors to accept or

reject the Plan; and (viii) approving procedures for the tabulation of creditor votes; and the Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with 28

U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested therein being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided to (a) the U.S. Trustee and (b) all other parties who have filed requests for notice under

Bankruptcy Rule 2002; and a hearing having been held before the Court with respect to the

Motion on June 7, 2023 (the “Hearing”); and the Court having determined that the relief sought

in the Motion is in the best interest of the Debtors, their creditors, estates, and all parties in

interest; and the Court having determined that the legal and factual bases set forth in the Motion




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establish cause for the relief granted herein; and upon all of the proceedings had before the Court

and after due deliberation and sufficient cause appearing therefor,




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        IT IS HEREBY FOUND THAT:

        A.       The Disclosure Statement contains adequate information within the meaning of

section 1125 of the Bankruptcy Code.

        B.       The forms of the ballots with respect to the Plan (the “Ballots”), substantially in

the forms attached hereto as Exhibit 2, Exhibit 3, Exhibit 4, and Exhibit 5, respectively, are

sufficiently consistent with Official Form No. 14 and adequately address the particular needs of

these chapter 11 cases and are appropriate for each Class of Claims entitled under the Plan to

vote to accept or reject the Plan.

        C.       Ballots need not be provided to holders of Claims in Class 1 (Secured Tax

Claims), Class 2, (Other Secured Claims), and Class 3 (Other Priority Claims) because they are

conclusively presumed to accept the plan. Ballots also need not be provided to the members of

Class 6 (Intercompany Claims) because holders of such Claims will retain and receive no

property under the Plan and are therefore deemed to reject the Plan.

        D.       The period set forth below, during which the Debtors may solicit acceptance of

the Plan, is a reasonable period of time for holders of Claims entitled to vote on the Plan to make

an informed decision with respect to whether to accept or reject the Plan.

        E.       The procedures for the solicitation and tabulation of votes to accept or reject the

Plan (as more fully set forth in the Motion) provides for a fair and equitable voting process and

are consistent with section 1126 of the Bankruptcy Code.

        F.       The procedures set forth below regarding notice to all parties in interest of the

time, date, and place of the Confirmation Hearing, and the distribution and contents of the




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Solicitation Packages comply with Bankruptcy Rules 2002 and 3017 and constitute sufficient

notice to all interested parties.




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NOW, THEREFORE, IT IS HEREBY ORDERED:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Disclosure Statement is APPROVED as set forth herein.

        3.       Except as otherwise noted on the record of the Hearing, all objections to the

Disclosure Statement are hereby OVERRULED.

        4.       The Ballots are APPROVED.

        5.       The Voting Record Date for purposes of determining creditors entitled to vote on

the Plan or, in the case of non-voting classes to receive the Notice of Non-Voting Status –

Unimpaired Classes or the Notice of Non-Voting Status – Impaired Classes, as applicable, is

June 7, 2023, provided, however, that with respect to a transferred claim, the transferee shall be

entitled to receive a Solicitation Package and vote to accept or reject the Plan on account of the

transferred Claim only if: (a) all actions necessary to effect the transfer of the Claim pursuant to

Bankruptcy Rule 3001(e) have been completed by the Voting Record Date; or (b) the transferee

files, no later than the Voting Record Date, (i) the documentation required by Bankruptcy Rule

3001(e) to evidence the transfer, and (ii) a sworn statement of the transferor supporting the

validity of the transfer. In the event that a Claim is transferred after the transferor has completed

a Ballot, the transferee of such Claim shall be bound by any vote (and the consequences thereof)

made on the Ballot by the Holder as of the Voting Record Date of such transferred Claim.

        6.       The Debtors shall complete the mailing of Solicitation Packages as soon as within

five (5) business days of the entry of this Order, or as reasonably practicable thereafter (the

“Solicitation Date”), and serve all known holders (as of the Voting Record Date) of claims in

Class 4 (2021 Credit Agreement Claims), Class 5 (General Unsecured Claims), Class 7


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(Subordinated Claims), and Class 8 (Interests) (collectively, the Voting Classes”) with a copy

of: (i) this Order (without the exhibits attached hereto); (ii) the Confirmation Hearing Notice;

(iii) the appropriate form of Ballot to accept or reject the Plan with instructions and with a

prepaid and pre-addressed return envelope; and (iv) the Plan and Disclosure Statement.3

        7.       The Debtors shall complete, by no later than the Solicitation Date, the mailing of

the Confirmation Hearing Notice to all parties who received the Disclosure Statement Notice.

        8.       The Debtors shall complete, by no later than the Solicitation Date, the mailing of:

(i) the Confirmation Hearing Notice; (ii) the appropriate form of Notice of Non-Voting Status –

Unimpaired Classes to all known holders (as of the Voting Record Date) of claims in Class 1

(Secured Tax Claims), Class 2 (Other Secured Claims) and Class 3 (Other Priority Claims), and

(iii) the Plan and Disclosure Statement.4

        9.       The Debtors shall complete, by no later than the Solicitation Date, the mailing of:

(i) the Confirmation Hearing Notice; (ii) the appropriate form of Notice of Non-Voting Status –

Impaired Classes to all known holders (as of the Voting Record Date) of claims in Class 6

(Intercompany Claims); and (iii) the Plan and Disclosure Statement.5

        10.      The Confirmation Hearing will be held at [●]:[●] [●].m. (prevailing Eastern

Time) on [●] [●], 2023; provided, however, that the Confirmation Hearing may be continued




3
         Copies of the materials contained in the Packages (excluding the Confirmation Hearing Notice and the
Ballots) may be provided on flash drive or USB at the Debtors’ discretion; provided, however, that any party may
request to receive paper copies of such materials from the Voting and Balloting Agent at no cost to such party.

4
         Copies of the materials contained in the Packages (excluding the Confirmation Hearing Notice and the
Ballots) may be provided on flash drive or USB at the Debtors’ discretion; provided, however, that any party may
request to receive paper copies of such materials from the Voting and Balloting Agent at no cost to such party.

5
         Copies of the materials contained in the Packages (excluding the Confirmation Hearing Notice and the
Ballots) may be provided on flash drive or USB at the Debtors’ discretion; provided, however, that any party may
request to receive paper copies of such materials from the Voting and Balloting Agent at no cost to such party.
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from time-to-time by the Court or the Debtors, without further notice or through adjournments

announced in open court or as indicated in any notice of agenda of matter scheduled for hearing

filed with the Court.

        11.      The Confirmation Hearing Notice, setting forth the time, date, and place of the

Confirmation Hearing, substantially in the form attached hereto as Exhibit 1, is hereby

APPROVED and deemed adequate and sufficient notice of the Confirmation Hearing in

accordance with Bankruptcy Rule 2002. The Debtors shall publish the Confirmation Hearing

Notice (in a format modified for publication) one time on or before the date that is ten (10)

business days from the entry of this Order in the national edition of the New York Times or USA

Today. Copies of the Plan, Disclosure Statement and Confirmation Hearing Notice shall also be

served upon the United States Attorney for the District of Delaware.

        12.      Any objections to the confirmation of the Plan must (a) be in writing; (b) state the

name and address of the objecting party and the nature of the claim or interest of such party; (c)

state with particularity the basis and nature of any objection; and (d) be filed, together with proof

of service, with the Court and served so that they are actually filed and received by the following

parties no later than 4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Confirmation

Objection Deadline”): (i) counsel to the Debtors, Klehr Harrison Harvey Branzburg LLP, 919

North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn: Domenic E. Pacitti

(dpacitti@klehr.com) and Michael W. Yurkewicz (myurkewicz@klehr.com); (ii) counsel to the

official committee of unsecured creditors Cole Schotz, P.C., 1325 Avenue of the Americas, 19th

Floor, New York, NY 10019, Attn: Seth Van Aalten (svanaalten@coleschotz.com) and Sarah A.

Carnes (scarnes@coleschotz.com) and 500 Delaware Avenue, Suite 1410, Wilmington, DE

19801 Attn: G. David Dean (ddean@coleschotz.com); (iii) counsel to the DIP Lender, Kirkland


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& Ellis, LLP, 601 Lexington Ave, New York, NY 10022, Attn: Brian Schartz, P.C.

(brian.schartz@kirkland.com), Allyson B. Smith (allyson.smith@kirkland.com), and Simon

Briefel (simon.briefel@kirkland.com);and (iv) Office of the United States Trustee, 844 King

Street, Suite 2207, Lock Box 35, Wilmington, Delaware 19801, Attn: Richard Schepacarter, Esq.

(Richard.Schepacarter@usdoj.gov).

        13.     Counsel for the Debtors are authorized to file and serve a confirmation brief,

replies or an omnibus reply to any such objections no later than 4:00 p.m. (prevailing Eastern

Time) on [●] [●], 2023.

        14.     The Debtors shall not be required to send Solicitation Packages to (i) any holder

of an unimpaired claim under the Plan, (ii) any holder of a Claim or equity interest in a Class

under the Plan that is deemed to reject the Plan, (iii) any party who holds a claim that is not

allowed, filed, or scheduled in the Debtors’ schedules of assets and liabilities and the statements

of financial affairs filed by the Debtors pursuant to section 521 of the Bankruptcy Code,

Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules, as such

schedules and statements have been or may be amended (the “Schedules”) in an amount greater

than $0 or scheduled as contingent, unliquidated, or disputed (where no timely Proof of Claim

was filed), and (iv) a creditor that has a Claim that already has been paid in full; provided,

however, that if, and to the extent that, any such creditor would be entitled to receive a

Solicitation Package for any reason other than by virtue of the fact that its Claim had been

scheduled by the Debtors, then such creditor shall be sent a Solicitation Package in accordance

with the procedures set forth herein. If you have timely filed a proof of claim and disagree with

the Debtors’ classification of, objection to, or request for estimation of, your claim and believe

that you should be entitled to vote on the Plan, then you must serve the Debtors and file with the


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Bankruptcy Court (with a copy to Chambers) a motion (a “Rule 3018(a) Motion”) for an order

pursuant to Bankruptcy Rule 3018(a) temporarily allowing such claim in a different amount or in

a different class for purposes of voting to accept or reject the Plan. All Rule 3018(a) Motions

must be filed on or before the tenth (10th) day after the service of notice of an objection or

request for estimation, if any, as to such claim which must be filed on or before June 17, 2023.

In accordance with Bankruptcy Rule 3018, as to any creditor filing a Rule 3018(a) Motion, such

creditor’s Ballot will not be counted except as may be otherwise ordered by the Bankruptcy

Court prior to the Voting Deadline.

        15.     With respect to addresses from which Disclosure Statement Notices were returned

as undeliverable by the United States Postal Service, to the extent that the Debtors have email

addresses for addressees of returned Disclosure Statement Notices the Debtors shall email such

Disclosure Statement Notices, otherwise the Debtors are excused from mailing Solicitation

Packages or any other materials related to voting or confirmation of the Plan to those entities

listed at such addresses unless and until the Debtors are provided with accurate addresses for

such entities before the Solicitation Date, and failure to mail Solicitation Packages or any other

materials related to voting or confirmation of the Plan to such entities will not constitute

inadequate notice of the Confirmation Hearing or the Voting Deadline (as defined below) nor

constitute a violation of Bankruptcy Rule 3017(d). Any report or declaration of the voting

results on the Plan shall also include a list of Solicitation Packages that remain undeliverable.

        16.     A Notice of Non-Voting Status – Unimpaired Classes, substantially in the form

attached hereto as Exhibit 6, which form is hereby APPROVED, shall be distributed to holders

of claims in Class 1 (Secured Tax Claims), Class 2 (Other Secured Claims), and Class 3 (Other

Priority Claims) (the “Non-Voting Unimpaired Classes”) and holders of unclassified, unimpaired


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claims, which claims are unimpaired under the Plan and therefore are not entitled to vote to

accept or reject the Plan.

        17.     A Notice of Non-Voting Status – Impaired Classes, substantially in the form

attached hereto as Exhibit 7, which form is hereby APPROVED, shall be distributed to holders

of claims in Class 6 (Intercompany Claims), which are not entitled to vote to accept or reject the

Plan.

        18.     The Notice of Non-Voting Status – Unimpaired Classes and Notice of

Non-Voting Status – Impaired Classes satisfy the requirements of Bankruptcy Code and the

Bankruptcy Rules and the Debtors therefore are not required to distribute copies of the Plan,

Disclosure Statement, and/or Disclosure Statement Order to any holder of a claim or interest in

the Non-Voting Unimpaired Classes and the Non-Voting Impaired Classes, unless such party in

such Classes makes a request for copies of such documents to the Debtors in writing.

        19.     Each Ballot must be properly executed, completed, and delivered to the Voting

and Balloting Agent (i) by first-class mail, in the return envelope provided with each Ballot, (ii)

by overnight courier, (iii) by hand delivery, or (iv) through the online balloting portal on the

Debtors’ case website maintained by the Voting and Balloting Agent so that it is actually

received by Voting and Balloting Agent no later 4:00 p.m. (prevailing Eastern Time) on [●]

[●], 2023 (the “Voting Deadline”).

        20.     Solely for the purposes of voting to accept or reject the Plan and not for the

purpose of the allowance of, or distribution on account of, a Claim, and without prejudice to the

rights of the Debtors in any other context, each Claim within a Class of Claims entitled to vote to

accept or reject the Plan is temporarily allowed in an amount equal to the amount of such Claim

as set forth in the Schedules, provided that:


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        (a)     If a Claim is deemed allowed under the Plan, such claim is allowed for voting
                purposes in the deemed allowed amount set forth in the Plan;

        (b)     If a Claim for which a proof of claim has been timely filed for unknown or
                undetermined amounts, or is wholly unliquidated and/or wholly contingent (As
                determined on the face of the claim or after a reasonable review of supporting
                documentation by the Voting and Ballot Agent) and such claim has not been
                allowed, such Claim shall be temporarily allowed for voting purposes only, and
                not for purposes of allowance or distribution, at $1.00, unless such claim is
                disputed as set forth in subparagraph (h) below;

        (c)     If a Claim has been estimated or otherwise allowed for voting purposes by order
                or the Court, such claim is temporarily allowed in the amount so estimated or
                allowed by the Court for voting purposes only, and not for purposes of allowance
                or distribution;

        (d)     If a proof of claim was timely filed in an amount that is liquidated and
                noncontingent, such Claim is temporarily allowed in the amount set forth on the
                proof of claim, unless such Claim is disputed as set forth in subparagraph (h)
                below;

        (e)     If a Claim is listed in the Schedules as contingent, unliquidated, or disputed and a
                proof of claim was (a) not filed by the applicable bar date for the filing of proofs
                of claim established by the Court or (b) not deemed timely filed by an order of the
                Court prior to the Voting Deadline, then such claim shall be disallowed for voting
                purposes; provided, however, if the applicable bar date has not yet passed, such
                Claim shall be entitled to vote at $1.00;

        (f)     If a Claim is listed on a timely filed proof of claim as contingent, unliquidated, or
                disputed in part, such Claim is temporarily allowed in the amount that is
                liquidated, non-contingent, and undisputed for voting purposes only, ad not for
                purposes of allowance or distribution;

        (g)     If a proof of claim has been amended by a later filed proof of claim, the later filed
                amending claim shall be entitled to Vote in a manner consistent with these
                tabulation rules, and the earlier filed claim shall be disallowed for voting
                purposes, regardless of whether the Debtors have objected to such amended
                claim. Except as otherwise ordered by the Court, or approval by the Debtors, any
                amendments to proofs of claim after the Voting Record Date shall not be
                considered for purposes of these tabulation rules;

        (h)     If the Debtors have filed any objection or request for estimation as to a Claim on
                or before the Solicitation Date, such Claim is temporarily disallowed for voting
                purposes only and not for purposes of allowance or distribution, except to the
                extent and in the manner as may be set forth in such objection, or as ordered by
                the court before the Voting Deadline (any objections to Claims filed after

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                Solicitation Date shall not affect the voting rights of the Holder of a Claim subject
                to such objection for purposes of this provision);

        (i)     Proofs of claim filed for $0.00 are not entitled to vote;

        (j)     For purposes of voting, classification, and treatment under the Plan, each entity
                that holds or has filed more than one (1) Claim, shall be treated as if such entity
                has only (1) Claim in each applicable Class and the Claims filed by such entity
                shall be aggregated in each applicable Class and the total dollar amount of such
                entity’s Claims in each applicable Class shall be the sum of the aggregate Claims
                of such entity in each applicable Class;

        (k)     Any entity that filed or purchased duplicate claims against one or more Debtors
                within the same Class shall be provided with only one Solicitation Package and
                one ballot for voting a single claim in such Class, regardless of whether the
                Debtors have objected to such duplicate Claims;

        (l)     Notwithstanding anything contained herein to the contrary, the Voting and
                Balloting Agent, in its discretion, may contact voters to cure any defects in the
                Ballots and is authorized to so cure any defects; and

        (m)     There shall be a rebuttable presumption that any claimant who submits a properly
                completed superseding Ballot or withdrawal of Ballot on or before the Voting
                Deadline has sufficient cause, within the meaning of Bankruptcy Rule 3018(a), to
                change or withdraw such claimant’s acceptance or rejection of the Plan.

        21.     Each of the creditors that votes to accept or reject the Plan is deemed to have

voted the full amount of its Claim therefor.

        22.     Whenever a creditor casts more than one Ballot voting the same Claim(s) before

the Voting Deadline, the last properly completed Ballot received before the Voting Deadline

shall be deemed to reflect the voter’s intent, and thus, to supersede any prior Ballots.

        23.     Any entity that holds a Claim in more than one Class that is entitled to vote must

use separate Ballots for each such Claim.

        24.     Claimants must vote all of their Claims within a particular Class under the Plan,

whether or not such Claims are asserted against the same or multiple Debtors, either to accept or




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reject the Plan and may not split their vote(s), and thus a Ballot that partially rejects and partially

accepts the Plan shall not be counted.

        25.     The following types of Ballots will not be counted in determining whether the

Plan has been accepted or rejected: (i) any Ballot received after the Voting Deadline; (ii) any

Ballot that is illegible or contains insufficient information to permit the identification of the

claimant; (iii) any Ballot cast by a person or entity that does not hold a Claim in a class that is

entitled to vote to accept or reject the Plan; (iv) subject to paragraph 20(e) herein, any Ballot cast

for a Claim identified in the Schedules as unliquidated, contingent, or disputed for which no

proof of claim was timely filed; (v) any Ballot cast for a Claim for which an objection or request

for estimation has been filed on or before the Solicitation Date as set forth herein; (vi) any

unsigned Ballot or Ballot that does not contain an original signature; (vii) any Ballot transmitted

to the Voting and Balloting Agent by facsimile or other means not specifically approved herein;

or (viii) any Ballot that is otherwise properly completed, executed, and timely returned, but not

does indicate a vote to accept or reject the Plan or that indicates a vote to both accept and reject

the Plan.

        26.     The Debtors further propose that, in consultation with the Creditors’ Committee,

subject to any contrary order of the Court and except as otherwise set forth herein, they may

waive any defects or irregularities as to any particular Ballot (other than unsigned ballots) at any

time, either before or after the Voting Deadline, and any such waivers shall be documented in the

vote tabulation certification prepared by the Voting and Balloting Agent.

        27.     Any Class that contains claims entitled to vote but no votes are returned for such

Class shall be deemed to have accepted the Plan.




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        28.     The Debtors are authorized, in their sole discretion, to take or refrain from taking

any action necessary or appropriate to implement the terms of and relief granted in this Order

without seeking further order of the Court.

        29.     The Debtors are authorized, upon notice to the U.S. Trustee and the Creditors’

Committee, to make nonsubstantive changes to the Disclosure Statement, the Plan, and related

documents without further order of the Court, including, without limitation, changes to correct

typographical and grammatical errors and to make conforming changes among the Disclosure

Statement, the Plan, and any other materials in the Solicitation Package prior to their mailing.

        30.     All notices to be provided pursuant to the procedures set forth herein are good and

sufficient notice to all parties in interest of all matters pertinent hereto and of all matters

pertinent to the Confirmation Hearing and no other or further notice need be provided.

        31.     Any report or declaration of the voting results on the Plan shall also include a list

of parties that affirmatively “opt-out” of the Third -Party Release in Article IX of the Plan.




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                                     Exhibit 1

                           Confirmation Hearing Notice




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
PERFORMANCE POWERSPORTS GROUP                            ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                  )
                                                         )
                                   Debtors.              ) (Jointly Administered)
                                                         )

             NOTICE OF (I) APPROVAL OF THE DISCLOSURE STATEMENT;
                  (II) ESTABLISHMENT OF THE VOTING RECORD DATE;
         (III) HEARING ON CONFIRMATION OF THE PLAN AND PROCEDURES
                FOR OBJECTING TO CONFIRMATION OF THE PLAN; AND
              (IV) PROCEDURES AND DEADLINE OR VOTING ON THE PLAN

PLEASE TAKE NOTICE that:

         1.      Approval of Disclosure Statement. By order dated [●] [●], 2023 (the “Order”),

the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)

approved the Disclosure Statement With Respect to Debtors’ Joint Plan of Liquidation Pursuant

to Chapter 11 of the Bankruptcy Code dated May 2June 4, 2023 (as it may be amended or

modified,     the   “Disclosure      Statement”)      filed    by the      above-captioned        debtors    and

debtors-in-possession (the “Debtors”), and directed the Debtors to solicit votes with regards to

the approval or rejection of the Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the

Bankruptcy Code dated May 2June 4, 2023 (as it may be amended or modified, the “Plan”),

attached as Exhibit B to the Disclosure Statement. Any capitalized terms used but not otherwise

defined herein shall have the meanings ascribed to them in the Plan.


1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.


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        2.      Confirmation Hearing. A hearing to consider the confirmation of the Plan will

be held on [●] [●], 2023 at [●]:[●] [●].m. (prevailing Eastern Time) (the “Confirmation

Hearing”) before the Honorable Laurie Selber Silverstein, Chief United States Bankruptcy Judge

for the District of Delaware, 824 North Market Street, Courtroom #2, 6th Floor, Wilmington,

Delaware 19801. The Confirmation Hearing may be continued from time-to-time without

further notice other than the announcement by the Debtors of the adjourned date(s) at the

Confirmation Hearing or any continued hearing or as indicated in any notice of agenda of matters

scheduled for hearing filed by the Debtors with the Bankruptcy Court, and the Plan may be

modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without

further notice to interested parties.

        3.      Record Date for Voting Purposes. [●] [●], 2023 is the voting record date (the

“Voting Record Date”) for purposes of determining which creditors are entitled to vote on the

Plan. Therefore, only those creditors in a class entitled to vote on the Plan and holding claims

against one or more of the Debtors as of the Voting Record Date are entitled to vote on the Plan

provided, however, that with respect to any transferred claim the transferee shall be entitled to

receive a Solicitation Package and vote to accept or reject the Plan on account of the transferred

Claim only if: (a) all actions necessary to effect the transfer of the Claim pursuant to Bankruptcy

Rule 3001(e) have been completed by the Voting Record Date; or (b) the transferee files, no later

than the Voting Record Date, (i) the documentation required by Bankruptcy Rule 3001(e) to

evidence the transfer, and (ii) a sworn statement of the transferor supporting the validity of the

transfer. In the event a Claim is transferred after the transferor has completed a Ballot, the

transferee of such Claim shall be bound by any vote (and the consequences thereof) made on the

Ballot by the Holder as of the Voting Record Date of such transferred Claim.


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       4.      Voting Deadline. All votes to accept or reject the Plan must be actually received

by the Debtors’ voting agent, Omni Agent Solutions (“Omni”), by no later than 4:00 p.m.

(prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”). Any failure to follow the

voting instructions included with your Ballot may disqualify your Ballot and your vote.

       5.      Parties in Interest Not Entitled to Vote. The following claimants and equity

interest holders are not entitled to vote on the Plan: (i) holders of unimpaired claims; (ii) holders

of claims or interests who will receive no distribution at all under the Plan; (iii) holder of claims

that are disallowed for voting purposes in accordance with the Order; and (iv) holders of claims

that are the subject of filed objections or requests for estimation as of [●] [●]June 17, 2023. If

you have timely filed a proof of claim and disagree with the Debtors’ classification of, objection

to, or request for estimation of, your claim and believe that you should be entitled to vote on the

Plan, then you must serve on the Debtors at the address set forth below and file with the

Bankruptcy Court (with a copy to Chambers) a motion (a “Rule 3018(a) Motion”) for an order

pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) temporarily allowing such claim in a different amount or in a different class for purposes

of voting to accept or reject the Plan. All Rule 3018(a) Motions, if any, must be filed and served

on or before [●] [●]June 27, 2023. In accordance with Bankruptcy Rule 3018, as to any creditor

filing a Rule 3018(a) Motion, such creditor’s Ballot will not be counted except as may be

otherwise ordered by the Bankruptcy Court. Creditors may contact Omni by regular mail to:

Performance Powersports Group Investor, LLC, et al., Ballot Processing, c/o Omni Agent

Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367; by overnight delivery to:

Performance Powersports Group Investor, LLC, et al., Ballot Processing, c/o Omni Agent

Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA, 91367; or by emailing


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performancepowersportsinquiries@omniagnt.com.com             and     referencing     “Performance

Powersports Group Investor, LLC” in the subject line to receive an appropriate ballot for any

claim for which a proof of claim has been timely filed and a Rule 2018(a) Motion has been

granted. Rule 3018(a) Motions that are not timely filed and served in the manner set forth above

shall not be considered.

       6.      Parties in Interest Entitled to Vote. Solely for purposes of voting to accept or

reject the Plan and not for the purpose of the allowance of, or distribution on account of, a Claim,

and without prejudice to the rights of the Debtors in any other context, each Claim within a Class

of Claims entitled to vote to accept or reject the Plan is temporarily allowed in an amount equal

to the amount of such Claim as set forth in the Schedules, provided that:

       (a)     If a Claim is deemed allowed under the Plan, such claim is allowed for voting
               purposes in the deemed allowed amount set forth in the Plan;

       (b)     If a Claim for which a proof of claim has been timely filed is contingent,
               unliquidated, or disputed in full (as may be reasonably determined by the Debtors
               or the Voting and Balloting Agent after receipt of the claim supporting
               documents), such claim is accorded one vote and valued at one dollar ($1.00) for
               voting purposes only, and not for purposes of allowance or distribution, unless
               such claim is disputed as set forth in subparagraph (h) below;

       (c)     If a Claim has been estimated or otherwise allowed for voting purposes by order
               of the Court, such claim is temporarily allowed in the amount so estimated or
               allowed by the Court for voting purposes only, and not for purposes of allowance
               or distribution;

       (d)     If a proof of claim was timely filed in an amount that is liquidated, noncontingent,
               and undisputed, such Claim is temporarily allowed in the amount set forth on the
               proof of claim, unless such Claim is disputed as set forth in subparagraph (h)
               below;

       (e)     If a Claim is listed in the Schedules as contingent, unliquidated, or disputed and a
               proof of claim was not (a) filed by the applicable bar date for the filing of proofs
               of claim established by the Court or (b) deemed timely filed by an order of the
               Court prior to the Voting Deadline, that such claim be disallowed for voting
               purposes and for purposes of allowance and distribution pursuant to Bankruptcy
               Rule 3003(c); provided, however, if the applicable bar date has not yet passed,
               such Claim shall be entitled to vote at $1.00;
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       (f)     If a Claim is listed on a timely filed proof of claim as contingent, unliquidated, or
               disputed in part, such Claim is temporarily allowed in the amount that is
               liquidated, non-contingent, and undisputed for voting purposes only, and not for
               purposes of allowance or distribution;

       (g)     If a proof of claim has been amended by a later filed proof of claim ,the later filed
               amending claim shall be entitled to Vote in a manner consistent with these
               tabulation rules, and the earlier filed claim shall be disallowed for voting
               purposes, regardless of whether the Debtors have objected to such amended
               claim. Except as otherwise ordered by the Court, any amendments to proofs of
               claim after the Voting Record Date shall not be considered for purposes of these
               tabulation rules;

       (h)     If the Debtors have filed an objection or request for estimation as to a Claim on or
               before the Solicitation Date, such Claim is temporarily disallowed for voting
               purposes only and not for purposes of allowance or distribution, except to the
               extent and in the manner as may be set forth in such objection, or as ordered by
               the Court before the Voting Deadline (any objections to Claims filed after
               Solicitation Date shall not affect the voting rights of the Holders of a Claim
               subject to such objection for purposes of this provision);

       (i)      Proofs of claim filed for $0.00 are not entitled to vote;

       (j)     For purposes of voting, classification, and treatment under the Plan, each entity
               that holds or has filed more than one (1) Claim, shall be treated as if such entity
               has only (1) Claim in each applicable Class and the Claims filed by such entity
               shall be aggregated in each applicable Class and the total dollar amount of such
               entity’s Claims in each applicable Class shall be the sum of the aggregate Claims
               of such entity in each applicable Class;

       (k)     Any entity that filed or purchased duplicate claims against one or more Debtors
               within the same Class shall be provided with only one Solicitation Package and
               one ballot for voting a single claim in such Class, regardless of whether the
               Debtors have objected to such duplicate Claims;

       (l)     Notwithstanding anything contained herein to the contrary, the Voting and
               Balloting Agent, in its discretion, may contact voters to cure any defects in the
               Ballots and is authorized to so cure any defects; and

       (m)     There shall be a rebuttable presumption that any claimant who submits a properly
               completed superseding Ballot or withdrawal of Ballot on or before the Voting
               Deadline has sufficient cause, within the meaning of Bankruptcy Rule 3018(a), to
               change or withdraw such claimant’s acceptance or rejection of the Plan.

       7.      Objections to Confirmation. Objections, if any, to confirmation of the Plan must:

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       (a)       be in writing;

       (b)       state the name and address of the objecting party and the nature of the claim or
                 interest of such party;

       (c)       state with particularity the basis and nature of any objection;

       (d)       be filed, together with proof of service, with the Bankruptcy Court; and

       (e)       be served upon (i) counsel to the Debtors, Klehr Harrison Harvey Branzburg LLP,
                 919 North Market Street, Suite 1000, Wilmington, Delaware 19801, Attn:
                 Domenic E. Pacitti (dpacitti@klehr.com) and Michael W. Yurkewicz
                 (myurkewicz@klehr.com); (ii) counsel to the official committee of unsecured
                 creditors Cole Schotz, P.C., 1325 Avenue of the Americas, 19th Floor, New York,
                 NY 10019, Attn: Seth Van Aalten (svanaalten@coleschotz.com) and Sarah A.
                 Carnes (scarnes@coleschotz.com) and 500 Delaware Avenue, Suite 1410,
                 Wilmington, DE 19801 Attn: G. David Dean (ddean@coleschotz.com); (iii)
                 counsel to the DIP Lender, Kirkland & Ellis, LLP, 601 Lexington Ave, New
                 York, NY 10022, Attn: Brian Schartz, P.C. (brian.schartz@kirkland.com),
                 Allyson B. Smith (allyson.smith@kirkland.com), and Simon Briefel
                 (simon.briefel@kirkland.com); and (iv) Office of the United States Trustee, 844
                 King Street, Suite 2207, Lock Box 35, Wilmington, Delaware 19801, Attn:
                 Richard Schepacarter, Esq. (Richard.Schepacarter@usdoj.gov); so as to be filed
                 with the Bankruptcy Court in accordance with paragraph 7(d) above and served
                 and actually received by the parties listed in this paragraph 7(e) by no later than
                 4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023.

       IF ANY OBJECTION TO CONFIRMATION OF THE PLAN IS NOT FILED

AND SERVED STRICTLY AS PRESCRIBED HEREIN, THE OBJECTING PARTY

MAY BE BARRED FROM OBJECTING TO CONFIRMATION OF THE PLAN AND

MAY NOT BE HEARD AT THE CONFIRMATION HEARING. The Debtors may serve

replies to such responses or objections by no later than 4:00 p.m. (prevailing Eastern Time) on

[●] [●], 2023.

       8.        Additional Information. Any party in interest wishing to obtain information

about the solicitation procedures or copies of the Disclosure Statement or the Plan should contact

the Debtors’ voting agent, Omni Agent Solutions at (747) 263-0129(toll-free in the United

States) or (888) 729-6139 (international); or by regular mail to: Performance Powersports Group

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Investor, LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite

100, Woodland Hills, CA 91367, by overnight delivery to: Performance Powersports Group

Investor, LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite

100,         Woodland          Hills,       CA           91367;       or     by        emailing

performancepowersportsinquiries@omniagnt.com and referencing “Performance Powersports

Group    Investor, LLC” in the subject           line;   or vising the Debtors’ website at

https://omniagentsolutions.com/PerformancePowersports where documents may be viewed or

downloaded free of charge; or the Bankruptcy Court’s website: www.deb.uscourts.gov. Please

note that a PACER (http://pacer.psc.uscourts.gov) password and login are needed to access

documents on the Bankruptcy Court’s website (www.deb.uscourts.gov).

        9.     Exculpation; Debtor Releases; Liabilities to, and Rights of, Governmental

Units; and Injunction. The Plan provides for the following provisions in Article IX:

               A.       Satisfaction and Release of Claims and Interests.

        In consideration for the distributions and other benefits provided pursuant to the
        Plan, or in any contract, instrument, or other agreement or document created
        pursuant to or in connection with the Plan, the distributions, rights, and treatment
        that are provided in the Plan shall, except as expressly provided in the Plan, be in
        complete satisfaction and release, effective as of the Effective Date, of Claims
        (including any Intercompany Claims resolved or compromised after the Effective
        Date by the Debtors), Interests, and Causes of Action of any nature whatsoever,
        including any interest accrued on Claims or Interests from and after the Petition
        Date, whether known or unknown, against, liabilities of, Liens on, obligations of,
        rights against, and Interests in, the Debtors or any of their assets or properties,
        regardless of whether any property shall have been distributed or retained
        pursuant to the Plan on account of such Claims and Interests, including demands,
        liabilities, and Causes of Action that arose before the Effective Date, any liability
        (including withdrawal liability) to the extent such Claims or Interests relate to
        services performed by employees of the Debtors before the Effective Date and that
        arise from a termination of employment, any contingent or non-contingent liability
        on account of representations or warranties issued on or before the Effective Date,
        and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
        Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Proof of
        Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant
        to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such
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       debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code;
       or (3) the holder of such a Claim or Interest has accepted the Plan. Subject to the
       occurrence of the Effective Date, the Confirmation Order shall be a judicial
       determination of the satisfaction and release of all Claims and Interests against and
       in the Debtors.

               B.    Liabilities to, and Rights of, Governmental Units.

       Notwithstanding anything to the contrary in the Plan or the Confirmation Order,
       nothing in the Confirmation Order or the Plan discharges, releases, precludes, or
       enjoins: (1) any liability to any Governmental Unit that is not a Claim; (2) any
       Claim of a Governmental Unit arising after the Effective Date; (3) any police power
       or regulatory liability to a Governmental Unit that any Entity would be subject to as
       the owner or operator of any property after the Effective Date; (4) the rights of any
       Governmental Unit with respect to the transfer or assignment of any license, permit,
       registration, authorization, or approval, in each case, to the extent provided under
       applicable law; and/or (5) any liability to a Governmental Unit on the part of any
       Entity.

               C.    Exculpation.

       Effective as of the Effective Date, no Exculpated Party shall have or incur, and each
       Exculpated Party is hereby released and exculpated from, any Exculpated Claim or
       any obligation, Cause of Action, or liability for any Exculpated Claim; provided,
       however, that the foregoing exculpation shall have no effect on the liability of any
       person or Entity that results from any act or omission based on or arising out of
       gross negligence, fraud or willful misconduct.

               D.    Release

       Notwithstanding anything in the Plan to the contrary, nothing in this release shall
       be constructed to release any post-Effective Date obligations or remedies of any
       Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or
       any document, instrument or agreement (including those set forth in the Plan
       Supplement) executed to implement the Plan.

                     1.     Releases by the Debtors

       Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
       authorized by applicable law, and except as otherwise specifically provided in the
       Plan ( including, without limitation, the exclusion of the Retained Causes of Action),
       for good and valuable consideration, the adequacy of which is hereby confirmed, on
       and after the Effective Date, each Released Party is expressly, unconditionally,
       generally and individually and collectively released, acquitted and discharged by
       the Debtors and their Estates from any and all actions, claims, obligations, rights,
       suits, judgments, damages, demands, debts, rights, remedies, Causes of Action, and
       liabilities of any nature whatsoever, or any other claim against any Released Party,
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       asserted on behalf of the Debtors, whether known or unknown, foreseen or
       unforeseen, matured or unmatured, fixed or contingent, liquidated or unliquidated,
       existing or hereinafter arising, in law, equity, or otherwise, whether for tort,
       contract, violations of federal or state securities laws, or otherwise, that the Debtors
       or their Estates would have been legally entitled to assert in their own right
       (whether individually or collectively) or on behalf of the holder of any Claim or
       Interest or other Entity, based on or relating to, or in any manner arising from, in
       whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
       other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
       restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in the
       Plan, the business or contractual arrangements between any Debtor and any
       Released Party, the restructuring of Claims and Interests before or in the Chapter
       11 Cases, the negotiation, formulation, or preparation of the Plan or related
       agreements, instruments or other documents (including, for the avoidance of doubt,
       providing any legal opinion requested by any Entity regarding any transaction,
       contract, instrument, document, or other agreement contemplated by the Plan or
       the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
       such legal opinion), upon any other act or omission, transaction, agreement, event,
       or other occurrence taking place on or before the Effective Date; provided,
       however, that the foregoing releases shall have no effect on the liability of any
       person or Entity that resultshas finally, judicially been determined by a court of
       competent jurisdiction to have resulted from any act or omission based on or arising
       out of gross negligence, fraud or willful misconduct.

       Notwithstanding anything in the Plan to the contrary, nothing in this release shall
       be constructed to release any post-Effective Date obligations or remedies of any
       Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or
       any document, instrument or agreement (including those set forth in the Plan
       Supplement) executed to implement the Plan.

                      2.     Releases by Holders

       Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
       authorized by applicable law, and except as otherwise specifically provided in the
       Plan, including, without limitation specifically excluding the Retained Causes of
       Action, for good and valuable consideration, the adequacy of which is hereby
       confirmed, on and after the Effective Date, each Released Party is expressly,
       unconditionally, generally and individually and collectively released, acquitted and
       discharged by the Releasing Parties from any and all actions, claims, obligations,
       rights, suits, judgments, damages, demands, debts, rights, remedies, Causes of
       Action, and liabilities of any nature whatsoever, or any other claim against any or
       all of the Released Parties, asserted or assertable by or on behalf of a Releasing
       Party or the Debtors, including any derivative claims, whether known or unknown,
       foreseen or unforeseen, matured or unmatured, fixed or contingent, liquidated or
       unliquidated, existing or hereinafter arising, in law, equity, or otherwise, whether
       for tort, contract, violations of federal or state securities laws, or otherwise, that the
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       Releasing Parties would have been legally entitled to assert in their own right
       (whether individually or collectively) or on behalf of the holder of any Claim or
       Interest or other Entity, based on or relating to, or in any manner arising from, in
       whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
       other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
       restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in the
       Plan, the business or contractual arrangements between any Debtor and any
       Released Party, the restructuring of Claims and Interests before or in the Chapter
       11 Cases, the negotiation, formulation, or preparation of the Plan or related
       agreements, instruments or other documents (including, for the avoidance of doubt,
       providing any legal opinion requested by any Entity regarding any transaction,
       contract, instrument, document, or other agreement contemplated by the Plan or
       the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
       such legal opinion), upon any other act or omission, transaction, agreement, event,
       or other occurrence taking place on or before the Effective Date; provided,
       however, that the foregoing releases shall have no effect on the liability of any
       person or Entity that resultshas finally, judicially been determined by a court of
       competent jurisdiction to have resulted from any act or omission based on or arising
       out of gross negligence, fraud or willful misconduct.

               E.    Injunction.

       [Except as otherwise provided in the Plan or the Confirmation Order, as of the
       Effective Date, all Entities that have held, hold or may hold any Interest in the
       Debtors or a Claim, Cause of Action, or other debt or liability against the Debtors
       or against any Released Party or Exculpated Party that have been released and/or
       exculpated under the this Plan (the “Released/Exculpated Claims and Interests”)
       are permanently enjoined from taking any of the following actions against the
       Debtors, the Estates, the Plan Administrator, the Litigation Trust, the Litigation
       Trustee, the Litigation Trust Assets, or the Released Parties or their respective
       predecessors, successors and assigns, subsidiaries, Affiliates, current (as of the
       Effective Date) directors, officers, principals, shareholders, members, partners,
       employees, agents, financial advisors, attorneys, accounts, investment bankers,
       consultants, representatives, and other Professionals solely in their respective
       capacities as such or any property of the same, on account of suchany Released
       ClaimsParty and InterestsExculpated Party: (i) commencing or continuing, in any
       manner or in any place, any action or other proceeding on account of such
       Released/Exculpated Claim; (ii) enforcing, attaching, collecting or recovering in any
       manner any judgment, award, decree or order on account of such
       Released/Exculpated Claim; (iii) creating, perfecting or enforcing any lien or
       encumbrance on account of such Released/Exculpated Claim; (iv) asserting any
       right of setoff (other than setoffs exercised prior to the Petition Date), or
       subrogation of any kind against any debt, liability or obligation on account of or in
       connection with or with respect to any Released Claims or Interests/Exculpated
       Claim; and (c) commencing or continuing in any manner or in any place, any action
       that does not comply with or is inconsistent with this provision; provided, however,
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       that the foregoing injunction shall have no effect on the liability of any person or
       Entity that resultshas finally, judicially been determined by a court of competent
       jurisdiction to have resulted from any act or omission based on or arising out of
       gross negligence, fraud or willful misconduct; provided further, however, that the
       foregoing injunction does not apply to any actions taken with respect to any party’s
       obligations or remedies under the Plan, the Sale Order, the Asset Purchase
       Agreement or any other or any document, instrument or agreement (including those
       set forth in the Plan Supplement) executed to implement the Plan.

               F.    Term of Injunctions or Stays.

       Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions
       or stays in effect in the Chapter 11 Cases pursuant to section 105 or 362 of the
       Bankruptcy Code or any order of the Bankruptcy Court, and existent on the
       Confirmation Date (excluding any injunctions or stays contained in the Plan or the
       Confirmation Order), shall remain in full force and effect until the Effective Date.
       All injunctions or stays contained in the Plan or the Confirmation Order shall
       remain in full force and effect in accordance with their terms.



      The Plan also provides for the following definitions of “Released Party” and
“Releasing Parties”:

               “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter
       Kravitz, (d) Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect
       to the foregoing in clause (a) such Entity’s current officers, directors and managers,
       financial advisors, attorneys, accountants, investment bankers, consultants,
       representatives and other professionals, in their capacity as such but specifically
       excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
       affiliated with the same of any nature, and (g) with respect to each of the foregoing
       in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
       assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
       former officers, directors, managers, principals, shareholders, direct and indirect
       equity holders, general partners, limited partners, and members, in their capacity
       as such.

              “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’
       Committee’s advisors; (c) all holders of Claims that vote to accept or are deemed to
       accept the Plan and who do not affirmatively opt out of the releases provided by the
       Plan by checking the box on the applicable ballot or notice indicating that they opt
       not to grant the releases provided in the Plan; (d) all holders of Claims or Interests
       that abstain from voting on the Plan and who do not affirmatively opt out of the
       releases provided by the Plan by checking the box on the applicable ballot
       indicating that they opt not to grant the releases provided in the Plan; and (e) all
       holders of Claims or Interests that vote to reject the Plan and who do not
       affirmatively opt out of the releases provided by the Plan by checking the box on the
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       applicable ballot or notice indicating that they opt not to grant the releases provided
       in the Plan; and (f) with respect to each of the foregoing entities in clauses (a)
       through (f), each and all of such entities’ direct and indirect current and former:
       equity holders, affiliates, predecessors, participants, successors and assigns, parents,
       subsidiaries, partners (including general partners and limited partners), managed
       accounts or funds, management companies, fund advisors, investors, beneficial
       owners, managing members, directors, managers, officers, principals, controlling
       persons, employees, agents, financial advisors, partners, attorneys, accountants,
       investment bankers, consultants, representatives and other professionals, advisors,
       and representatives, and each and all of their respective heirs, successors, and legal
       representatives.

        PLEASE TAKE FURTHER NOTICE THAT unless you affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

PLEASE TAKE FURTHER NOTICE THAT creditors who are entitled to vote but do not
       vote or do not submit a ballot or “abstain” from voting affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

 You are advised to review and consider the Plan, including the Release, Exculpation, and
                       Injunction provisions in Article IX carefully.

Dated: [●]June [●], 2023              /s/ DRAFT
Wilmington, Delaware                 Domenic E. Pacitti (DE Bar No. 3989)
                                     Michael W. Yurkewicz (DE Bar No. 4165)
                                     Sally E. Veghte (DE Bar No. 4762)
                                     KLEHR HARRISON HARVEY BRANZBURG LLP
                                     919 North Market Street, Suite 1000
                                     Wilmington, Delaware 19801
                                     Telephone: (302) 426-1189
                                     Facsimile:    (302) 426-9193
                                     Email: dpacitti@klehr.com
                                               myurkewicz@klehr.com
                                              sveghte@klehr.com
                                              12
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                                -and-
                                Morton R. Branzburg (admitted pro hac vice)
                                KLEHR HARRISON HARVEY BRANZBURG LLP
                                1835 Market Street, Suite 1400
                                Philadelphia, Pennsylvania 19103
                                Telephone: (215) 569-2700
                                Facsimile:     (215) 568-6603
                                Email: mbranzburg@klehr.com
                                Counsel for the Debtors and Debtors in Possession




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                                        Exhibit 2

                    Ballot for Class 4 (2021 Credit Agreement Claims)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
PERFORMANCE POWERSPORTS GROUP                             ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                   )
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )

          CLASS 4: 2021 CREDIT AGREEMENT CLAIMS BALLOT FOR
      ACCEPTING OR REJECTING DEBTORS’ JOINT CHAPTER 11 PLAN OF
     LIQUIDATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

  THIS BALLOT IS ACCOMPANIED BY A POSTAGE PRE-PAID RETURN
  ENVELOPE ADDRESSED TO OMNI AGENT SOLUTIONS (THE “VOTING AND
        Performance
  BALLOTING          Powersports
                  AGENT”).        Group
                               THIS       Investor,MUST
                                       BALLOT        LLC andBEits  debtor affiliates,
                                                                RECEIVED        BY THEas debtors
                                                                                           VOTINGand
  AND BALLOTINGinAGENT
debtors-in-possession             NO LATER
                         the above-captioned    THAN
                                              chapter   114:00
                                                           casesP.M.  (PREVAILING
                                                                 (collectively,           EASTERN
                                                                                the “Debtors”)  filed
  TIME) ON [●] [●], 2023 (THE “VOTING DEADLINE”). IF YOUR BALLOT IS NOT
their Debtors’ Joint
  RECEIVED      BY Plan
                     THE ofVOTING
                             Liquidation  Pursuant to THE
                                       DEADLINE,        Chapter  11 of theMAY
                                                              DEBTOR        Bankruptcy
                                                                                   REJECTCodeSUCH
                                                                                               dated
  BALLOT
May   2June 4,AS INVALID.
               2023            IF for
                     (the “Plan”)  THEthe PLAN
                                           DebtorsISinCONFIRMED
                                                       this Case.2 TheBY    THEStates
                                                                         United    BANKRUPTCY
                                                                                         Bankruptcy
  COURT, IT WIL BE BINDING ON YOU WHETHER OR NOT YOU VOTE.
Court for the District of Delaware (the “Bankruptcy Court”) has approved the Disclosure
Statement filed by the Debtors with respect to the Plan.
          This Ballot is being sent to you because our records indicate that you are a holder of one
or more 2021 Credit Agreement Claim(s) as defined in the Plan, as of June [●], 2023 (the
“Voting Record Date”), and, accordingly, you have the right to vote to accept or reject the Plan.
Your rights are described in the Disclosure Statement and the Plan, both accompanying this
Ballot.
          The Disclosure Statement and Plan provide information to assist you in deciding how to
vote your Ballot. If you do not have a copy of the Disclosure Statement or Plan, you may request



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
       Capitalized terms used but not otherwise defined herein or in the enclosed voting instructions shall have the
meanings ascribed to them in the Plan.

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copies from Omni Agent Solutions by regular mail to: Performance Powersports Group Investor,
LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; by overnight delivery to: Performance Powersports Group Investor,
LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; or by emailing performancepowersportsinquiries@omniagnt.com
and referencing “Performance Powersports Group Investor, LLC” in the subject line.
Additionally, copies of the Disclosure Statement and Plan may be viewed or downloaded free of
charge              by        visiting          the           Debtors’           website           at
https://omniagentsolutions.com/PerformancePowersports where documents may be viewed or
downloaded free of charge.
         Court approval of the Disclosure Statement does not indicate approval of the Plan by the
Court.
         You should review the Disclosure Statement and Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. Your claim has been placed in Class 4 – 2021 Credit Agreement Claims against
the Debtors, under the Plan. If you hold claims or equity interests in more than one class
under the Plan, you will receive a separate ballot for each class in which you are entitled to
vote.
         If your ballot is not actually received by the Voting or Balloting Agent on or before
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”), then your
vote will not be counted as either an acceptance or rejection of the Plan.
         If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote.
                         ACCEPTANCE OR REJECTION OF THE PLAN

         This Ballot is to be used solely for purposes of voting to accept or reject the Plan and not
for the purpose of allowance or disallowance of or distribution on account of the First Lien
Credit Agreement Claims.




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PLEASE COMPLETE THE FOLLOWING:

ITEM 1:        AMOUNT OF FIRST LIEN CREDIT AGREEMENT CLAIM. For purposes
of voting to accept or reject the Plan, the undersigned holds a 2021 Credit Agreement Claim(s) in
the amount set forth below.3


                         $___________________________
ITEM 2:        VOTE ON THE PLAN. The undersigned holder of a 2021 Credit Agreement
Claim(s) in the amount set forth in Item 1 above hereby votes to:

Check one box:




ITEM 3:        OPTIONAL RELEASE ELECTION. By checking the box set forth below,
the undersigned Holder of the Class 4 – 2021 Credit Agreement Claim(s) identified herein
elects TO NOT GRANT THE RELEASE set forth in Article IX.D of the Plan, which is also
set forth below:

       Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
       authorized by applicable law, and except as otherwise specifically provided in
       the Plan, including, without limitation specifically excluding the Retained
       Causes of Action, for good and valuable consideration, the adequacy of which
       is hereby confirmed, on and after the Effective Date, each Released Party is
       expressly, unconditionally, generally and individually and collectively
       released, acquitted and discharged by the Releasing Parties from any and all
       actions, claims, obligations, rights, suits, judgments, damages, demands,
       debts, rights, remedies, Causes of Action, and liabilities of any nature
       whatsoever, or any other claim against any or all of the Released Parties,
       asserted or assertable by or on behalf of a Releasing Party or the Debtors,
       including any derivative claims, whether known or unknown, foreseen or
       unforeseen, matured or unmatured, fixed or contingent, liquidated or
       unliquidated, existing or hereinafter arising, in law, equity, or otherwise,
       whether for tort, contract, violations of federal or state securities laws, or
       otherwise, that the Releasing Parties would have been legally entitled to assert
       in their own right (whether individually or collectively) or on behalf of the
       holder of any Claim or Interest or other Entity, based on or relating to, or in
       any manner arising from, in whole or in part, the purchase, sale or rescission
       of the purchase or sale of, or any other transaction relating to any Security of

3
    For voting purposes only, subject to tabulation rules.
                                                             3
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      the Debtors, the Debtors, the Debtors’ restructuring efforts, the Chapter 11
      Cases, the Plan, the subject matter of, or the transactions or events giving rise
      to, any Claim or Interest that is treated in the Plan, the business or
      contractual arrangements between any Debtor and any Released Party, the
      restructuring of Claims and Interests before or in the Chapter 11 Cases, the
      negotiation, formulation, or preparation of the Plan or related agreements,
      instruments or other documents (including, for the avoidance of doubt,
      providing any legal opinion requested by any Entity regarding any
      transaction, contract, instrument, document, or other agreement
      contemplated by the Plan or the reliance by any Released Party on the Plan or
      the Confirmation Order in lieu of such legal opinion), upon any other act or
      omission, transaction, agreement, event, or other occurrence taking place on
      or before the Effective Date; provided, however, that the foregoing releases
      shall have no effect on the liability of any person or Entity that resultshas
      finally, judicially been determined by a court of competent jurisdiction to
      have resulted from any act or omission based on or arising out of gross
      negligence, fraud or willful misconduct.

The Plan also provides for the following definitions of “Released Party” and “Releasing
Parties” as used in Article IX.D of the Plan:

           “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter Kravitz,
           (d) Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect to the
           foregoing in clause (a) such Entity’s current officers, directors and managers,
           financial advisors, attorneys, accountants, investment bankers, consultants,
           representatives and other professionals, in their capacity as such but specifically
           excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any
           entities affiliated with the same of any nature, and (g) with respect to each of the
           foregoing in clauses (b) through (e) such Person’s or Entity’s predecessors,
           successors and assigns, current and former Affiliates, subsidiaries, beneficial
           owners, current or former officers, directors, managers, principals,
           shareholders, direct and indirect equity holders, general partners, limited
           partners, and members, in their capacity as such.


           “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’
           Committee’s advisors; (c) all holders of Claims that vote to accept or are deemed
           to accept the Plan and who do not affirmatively opt out of the releases provided
           by the Plan by checking the box on the applicable ballot or notice indicating that
           they opt not to grant the releases provided in the Plan; (d) all holders of Claims
           or Interests that abstain from voting on the Plan and who do not affirmatively
           opt out of the releases provided by the Plan by checking the box on the
           applicable ballot indicating that they opt not to grant the releases provided in
           the Plan; and (e) all holders of Claims or Interests that vote to reject the Plan
           and who do not affirmatively opt out of the releases provided by the Plan by
           checking the box on the applicable ballot or notice indicating that they opt not to
           grant the releases provided in the Plan; and (f) with respect to each of the
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           foregoing entities in clauses (a) through (f), each and all of such entities’ direct
           and indirect current and former: equity holders, affiliates, predecessors,
           participants, successors and assigns, parents, subsidiaries, partners (including
           general partners and limited partners), managed accounts or funds,
           management companies, fund advisors, investors, beneficial owners, managing
           members, directors, managers, officers, principals, controlling persons,
           employees, agents, financial advisors, partners, attorneys, accountants,
           investment bankers, consultants, representatives and other professionals,
           advisors, and representatives, and each and all of their respective heirs,
           successors, and legal representatives.


In making no affirmative election to “opt out” – including failing to make an election and
return this Ballot in a timely manner – the Holder of a Class 4 – First Lien Credit
Agreement Claim(s) EFFECTIVELY RELEASES all claims against the Released Parties
defined in the Plan.




      PLEASE TAKE FURTHER NOTICE THAT unless you affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

PLEASE TAKE FURTHER NOTICE THAT creditors who are entitled to vote but do not
       vote or do not submit a ballot or “abstain” from voting affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

 You are advised to review and consider the Plan, including the Release, Exculpation, and
                       Injunction provisions in Article IX carefully.


ITEM 4:       ACKNOWLEDGEMENTS AND CERTIFICATION. By signing this Ballot,
the undersigned acknowledges that the undersigned has been provided with a copy of the
Disclosure Statement including all exhibits thereto. The undersigned certifies that it (i) is the
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holder of a 2021 Credit Agreement Claim(s) identified in Item 1 above and/or (ii) has full power
and authority to vote to accept or reject the Plan. The undersigned further acknowledges that the
Debtors’ solicitation of votes is subject to all terms and conditions set forth in the Disclosure
Statement and the order of the Bankruptcy Court approving the Disclosure Statement and the
procedures for the solicitation of votes to accept or reject the Plan contained therein.

                     Print or Type Name of Claimant: __________________________________
                                           Signature: __________________________________
       Name if Signatory (if different than Claimant): __________________________________
               If by Authorized Agent, Title of Agent: __________________________________
                                             Address: __________________________________
                                 Telephone Number: __________________________________
                                      Email Address: __________________________________
                                    Date Completed: __________________________________

       PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
      PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:


                    By first class mail or overnight or hand delivery to:

                                          OR Investor, LLC, et al.,
                Performance Powersports Group
                Ballot Processing
VISIT https://omniagentsolutions.com/PerformancePowersports-Ballots
                c/o Omni Agent Solutions                            TO CAST YOUR
                                    BALLOT
                5955 De Soto Ave., Suite 100 VIA
                Woodland Hills, CA 91367 SUBMISSION
                             “E-BALLOT”



HOW TO COMPLETE YOUR BALLOT ONLINE.

1.     Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.     Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.     Follow the directions to submit your Ballot.



 YOUR BALLOT MUST BE RETURNED SO THAT IT IS ACTUALLY RECEIVED BY
    THE VOTING AND BALLOTING AGENT NO LATER THAN THE 4:00 P.M.
       (PREVAILING EASTERN TIME) [●] [●], 2023, VOTING DEADLINE.



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 VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF:
             CLASS 4 – 2021 CREDIT AGREEMENT CLAIM(S)

       1.      This Ballot is submitted to you to solicit your vote to accept or reject the Debtors’
Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May 2June 4,
2023 (as it may be amended or modified, the “Plan”) and Disclosure Statement With Respect to
Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May
2June 4, 2023 (as it may be amended or modified, “Disclosure Statement”). All capitalized
terms used but not otherwise defined herein or in the Ballot have the meanings ascribed to such
terms in the Plan. PLEASE READ THE PLAN AND THE DISCLOSURE STATEMENT
CAREFULLY BEFORE COMPLETING THIS BALLOT.

        2.     The Plan will be accepted by Class 4 if it is accepted by the holders of two-thirds
in dollar amount and more than one-half in number of the Allowed Claims in Class 4 that have
voted to accept or reject the Plan. In the event that Class 4 rejects the Plan, the Bankruptcy
Court may nevertheless confirm the Plan and thereby make it binding on you if the Bankruptcy
Court finds that the Plan does not unfairly discriminate against and accords fair and equitable
treatment to the holders of Claims in Class 4 and all other Classes of Claims rejecting the Plan,
and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Plan
is confirmed by the Bankruptcy Court, all holders of Claims against and Equity Interests in the
Debtors (including those holders who abstain from voting on or reject the Plan, and those holders
who are not entitled to vote on the Plan) will be bound by the confirmed Plan and the
transactions contemplated thereby, whether or not they vote and whether or not they accept the
Plan.

        3.     To have your vote counted, you must complete, sign and return this Ballot to
Omni Agent Solutions (the “Voting and Balloting Agent”) so that it is received no later than
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”). Ballots may
be delivered by mail in the return envelope provides or as follows:

                    By first class mail or overnight or hand delivery to:
                            OR VIA
                    Performance       “E-BALLOT”
                                 Powersports        SUBMISSION.
                                             Group Investor, LLC, et al.,
                    Ballot Processing
                    c/o Omni Agent Solutions
                    5955 De Soto Ave., Suite 100
                    Woodland Hills, CA 91367
HOW TO COMPLETE YOUR BALLOT ONLINE.
1.  Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.  Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.  Follow the directions to submit your Ballot.

Ballots will not be accepted by email or facsimile.


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       4.      To properly complete the Ballot, you must follow the procedure described below:

               a.      make sure that the information contained in Item 1 is correct;

               b.      if you have a Claim in Class 4, cast one vote to accept or reject the Plan by
                       checking the appropriate box in Item 2;

               c.      if you are completing this Ballot on behalf of another entity, indicating
                       your relationship with such entity and the capacity in which you are
                       signing and if requested, submit satisfactory evidence of your authority to
                       so act (e.g., a power of attorney or a certified copy of board resolutions
                       authorizing you to so act);

               d.      if you also hold Claims in a Class other than Class 4, you may receive
                       more than one Ballot, labeled for a different Class of Claims. Your vote
                       will be counted in determining acceptance or rejection of the Plan by a
                       particular Class of Claims only if you complete, sign, and return the Ballot
                       labeled for the Class of Claims in accordance with the instructions on that
                       Ballot;

               e.      if you believe that you have received the wrong Ballot, please contact the
                       Voting and Balloting Agent immediately;

               f.      provide your name and mailing address;

               g.      sign and date your Ballot; and

               h.      return your originally signed Ballot so that it is received by the Voting
                       Deadline.

        5.      The following Ballots will not be counted in determining the acceptance or
rejection of the Plan: (a) any Ballot that is illegible or contains insufficient information to permit
the identification of the Claim Holder; (b) any Ballot cast by a Person or Entity that does not
hold a Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot or
Ballot not bearing an original signature; (d) any Ballot not marked to accept or reject the Plan, or
marked both to accept and reject the Plan; (e) any Ballot submitted by a party not entitled to cast
a vote with respect to the Plan; and/or (f) any Ballot transmitted to the Voting and Balloting
Agent by facsimile or other means not specifically approved herein.

       6.      Ballots received after the Voting Deadline will not be counted unless the Debtors
determine otherwise or as permitted by applicable law or court order. In all cases, Holders
should be allowed sufficient time to assure time delivery. No Ballot should be sent to the
Debtors or the Debtors’ financial or legal advisors. A Ballot will not be counted unless received
by the Voting and Balloting Agent.




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                    PLEASE SUBMIT YOUR BALLOT PROMPTLY

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT

RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT

RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PLAN, OR IF YOU

NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED

MATERIALS, PLEASE CONTACT THE DEBTORS’ VOTING AND BALLOTING

AGENT, OMNI AGENT SOLUTIONS, BY TELEPHONE AT (747) 263-0129

(TOLL-FREE IN THE UNITED STATES) OR (888) 729-6139 (INTERNATIONAL) AND

REQUEST TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM, OR BY

EMAIL TO performancepowersportsinquiries@omniagnt.com. PLEASE DO NOT DIRECT

ANY INQUIRIES TO THE BANKRUPTCY COURT.




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                                       Exhibit 3

                     Ballot for Class 5 (General Unsecured Claims)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
PERFORMANCE POWERSPORTS GROUP                             ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                   )
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )

           CLASS 5: GENERAL UNSECURED CLAIMS BALLOT FOR
      ACCEPTING OR REJECTING DEBTORS’ JOINT CHAPTER 11 PLAN OF
     LIQUIDATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

  THIS BALLOT IS ACCOMPANIED BY A POSTAGE PRE-PAID RETURN
  ENVELOPE ADDRESSED TO OMNI AGENT SOLUTIONS (THE “VOTING AND
       Performance
  BALLOTING          Powersports
                 AGENT”).        Group
                               THIS      Investor,MUST
                                      BALLOT        LLC andBEits  debtor affiliates,
                                                               RECEIVED        BY THEas debtors
                                                                                          VOTINGand
  AND BALLOTINGinAGENT
debtors-in-possession            NO LATER
                        the above-captioned    THAN
                                             chapter   114:00
                                                          casesP.M.  (PREVAILING
                                                                (collectively,           EASTERN
                                                                               the “Debtors”)  filed
  TIME) ON [●] [●], 2023 (THE “VOTING DEADLINE”). IF YOUR BALLOT IS NOT
the Debtors’ Joint
  RECEIVED      BY Plan
                    THEofVOTING
                            Liquidation  Pursuant to THE
                                      DEADLINE,        Chapter  11 of theMAY
                                                             DEBTOR       Bankruptcy
                                                                                  REJECTCodeSUCH
                                                                                              dated
  BALLOT
May  2June 4,AS  INVALID.
               2023           IF for
                    (the “Plan”)  THEthe PLAN
                                          DebtorsISinCONFIRMED
                                                      this Case.2 TheBY    THEStates
                                                                        United    BANKRUPTCY
                                                                                        Bankruptcy
  COURT, IT WIL BE BINDING ON YOU WHETHER OR NOT YOU VOTE.
Court for the District of Delaware (the “Bankruptcy Court”) has approved the Disclosure
Statement filed by the Debtors with respect to the Plan.
         This Ballot is being sent to you because our records indicate that you are a holder of one
or more General Unsecured Claim(s) as defined in the Plan, as of [●] [●], 2023 (the “Voting
Record Date”), and, accordingly, you have the right to vote to accept or reject the Plan. Your
rights are described in the Disclosure Statement and the Plan, both accompanying this Ballot.
         The Disclosure Statement and Plan provide information to assist you in deciding how to
vote your Ballot. If you do not have a copy of the Disclosure Statement or Plan, you may request
copies from Omni Agent Solutions by regular mail to: Performance Powersports Group Investor,



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
       Capitalized terms used but not otherwise defined herein or in the enclosed voting instructions shall have the
meanings ascribed to them in the Plan.

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LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; by overnight delivery to: Performance Powersports Group Investor,
LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; or by emailing performancepowersportsinquiries@omniagnt.com
and referencing “Performance Powersports Group Investor, LLC” in the subject line.
Additionally, copies of the Disclosure Statement and Plan may be viewed or downloaded free of
charge              by        visiting          the           Debtors’           website           at
https://omniagentsolutions.com/PerformancePowersports where documents may be viewed or
downloaded free of charge.
         Court approval of the Disclosure Statement does not indicate approval of the Plan by the
Court.
         You should review the Disclosure Statement and Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. Your claim has been placed in Class 5 – General Unsecured Claims against the
Debtors, under the Plan. If you hold claims or equity interests in more than one class
under the Plan, you will receive a separate ballot for each class in which you are entitled to
vote.
         If your ballot is not actually received by the Voting or Balloting Agent on or before
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”), then your
vote will not be counted as either an acceptance or rejection of the Plan.
         If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote.
                         ACCEPTANCE OR REJECTION OF THE PLAN

         This Ballot is to be used solely for purposes of voting to accept or reject the Plan and not
for the purpose of allowance or disallowance of or distribution on account of the General
Unsecured Claims.




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PLEASE COMPLETE THE FOLLOWING:

ITEM 1:        AMOUNT OF GENERAL UNSECURED CLAIM. For purposes of voting to
accept or reject the Plan, the undersigned holds a General Unsecured Claim(s) in the amount set
forth below.3


                         $___________________________
ITEM 2:        VOTE ON THE PLAN. The undersigned holder of a General Unsecured
Claim(s) in the amount set forth in Item 1 above hereby votes to:

Check one box:




ITEM 3:        OPTIONAL RELEASE ELECTION. By checking the box set forth below,
the undersigned Holder of the Class 5 – General Unsecured Claim(s) identified herein
elects TO NOT GRANT THE RELEASE set forth in Article IX.D of the Plan, which is also
set forth below:

        Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
        authorized by applicable law, and except as otherwise specifically provided
        in the Plan, including, without limitation specifically excluding the Retained
        Causes of Action, for good and valuable consideration, the adequacy of
        which is hereby confirmed, on and after the Effective Date, each Released
        Party is expressly, unconditionally, generally and individually and
        collectively released, acquitted and discharged by the Releasing Parties from
        any and all actions, claims, obligations, rights, suits, judgments, damages,
        demands, debts, rights, remedies, Causes of Action, and liabilities of any
        nature whatsoever, or any other claim against any or all of the Released
        Parties, asserted or assertable by or on behalf of a Releasing Party or the
        Debtors, including any derivative claims, whether known or unknown,
        foreseen or unforeseen, matured or unmatured, fixed or contingent,
        liquidated or unliquidated, existing or hereinafter arising, in law, equity, or
        otherwise, whether for tort, contract, violations of federal or state securities
        laws, or otherwise, that the Releasing Parties would have been legally
        entitled to assert in their own right (whether individually or collectively) or
        on behalf of the holder of any Claim or Interest or other Entity, based on or
        relating to, or in any manner arising from, in whole or in part, the purchase,
        sale or rescission of the purchase or sale of, or any other transaction relating

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    For voting purposes only, subject to tabulation rules.
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       to any Security of the Debtors, the Debtors, the Debtors’ restructuring
       efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in
       the Plan, the business or contractual arrangements between any Debtor and
       any Released Party, the restructuring of Claims and Interests before or in
       the Chapter 11 Cases, the negotiation, formulation, or preparation of the
       Plan or related agreements, instruments or other documents (including, for
       the avoidance of doubt, providing any legal opinion requested by any Entity
       regarding any transaction, contract, instrument, document, or other
       agreement contemplated by the Plan or the reliance by any Released Party
       on the Plan or the Confirmation Order in lieu of such legal opinion), upon
       any other act or omission, transaction, agreement, event, or other occurrence
       taking place on or before the Effective Date; provided, however, that the
       foregoing releases shall have no effect on the liability of any person or Entity
       that resultshas finally, judicially been determined by a court of competent
       jurisdiction to have resulted from any act or omission based on or arising out
       of gross negligence, fraud or willful misconduct.

The Plan also provides for the following definitions of “Released Party” and “Releasing
Parties” as used in Article IX.D of the Plan:

               “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter
       Kravitz, (d) Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect
       to the foregoing in clause (a) such Entity’s current officers, directors and managers,
       financial advisors, attorneys, accountants, investment bankers, consultants,
       representatives and other professionals, in their capacity as such but specifically
       excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
       affiliated with the same of any nature, and (g) with respect to each of the foregoing
       in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
       assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
       former officers, directors, managers, principals, shareholders, direct and indirect
       equity holders, general partners, limited partners, and members, in their capacity
       as such.

              “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’
       Committee’s advisors; (c) all holders of Claims that vote to accept or are deemed to
       accept the Plan and who do not affirmatively opt out of the releases provided by the
       Plan by checking the box on the applicable ballot or notice indicating that they opt
       not to grant the releases provided in the Plan; (d) all holders of Claims or Interests
       that abstain from voting on the Plan and who do not affirmatively opt out of the
       releases provided by the Plan by checking the box on the applicable ballot
       indicating that they opt not to grant the releases provided in the Plan; and (e) all
       holders of Claims or Interests that vote to reject the Plan and who do not
       affirmatively opt out of the releases provided by the Plan by checking the box on the
       applicable ballot or notice indicating that they opt not to grant the releases provided
       in the Plan; and (f) with respect to each of the foregoing entities in clauses (a)
       through (f), each and all of such entities’ direct and indirect current and former:
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       equity holders, affiliates, predecessors, participants, successors and assigns, parents,
       subsidiaries, partners (including general partners and limited partners), managed
       accounts or funds, management companies, fund advisors, investors, beneficial
       owners, managing members, directors, managers, officers, principals, controlling
       persons, employees, agents, financial advisors, partners, attorneys, accountants,
       investment bankers, consultants, representatives and other professionals, advisors,
       and representatives, and each and all of their respective heirs, successors, and legal
       representatives.

In making no affirmative election to “opt out” – including failing to make an election and
return this Ballot in a timely manner – the Holder of a Class 5 – General Unsecured
Claim(s) EFFECTIVELY RELEASES all claims against the Released Parties defined in
the Plan.




      PLEASE TAKE FURTHER NOTICE THAT unless you affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

PLEASE TAKE FURTHER NOTICE THAT creditors who are entitled to vote but do not
       vote or do not submit a ballot or “abstain” from voting affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

 You are advised to review and consider the Plan, including the Release, Exculpation, and
                       Injunction provisions in Article IX carefully.


ITEM 4:        ACKNOWLEDGEMENTS AND CERTIFICATION. By signing this Ballot,
the undersigned acknowledges that the undersigned has been provided with a copy of the
Disclosure Statement including all exhibits thereto. The undersigned certifies that it (i) is the
holder of a General Unsecured Claim(s) identified in Item 1 above and/or (ii) has full power and
authority to vote to accept or reject the Plan. The undersigned further acknowledges that the
Debtors’ solicitation of votes is subject to all terms and conditions set forth in the Disclosure
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Statement and the order of the Bankruptcy Court approving the Disclosure Statement and the
procedures for the solicitation of votes to accept or reject the Plan contained therein.




                     Print or Type Name of Claimant: __________________________________
                                           Signature: __________________________________
       Name if Signatory (if different than Claimant): __________________________________
               If by Authorized Agent, Title of Agent: __________________________________
                                            Address: __________________________________
                                 Telephone Number: __________________________________
                                      Email Address: __________________________________
                                    Date Completed: __________________________________



       PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
      PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

                    By first class mail or overnight or hand delivery to:

                                        OR Investor, LLC, et al.,
              Performance Powersports Group
              Ballot Processing
PLEASE VISIT https://omniagentsolutions.com/PerformancePowersports-BallotsTO
              c/o Omni Agent Solutions
CAST YOUR “E-BALLOT”
              5955 De Soto Ave., Suite 100
              Woodland Hills, CAVIA  “E-BALLOT”
                                  91367



HOW TO COMPLETE YOUR BALLOT ONLINE.

1.     Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.     Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.     Follow the directions to submit your Ballot.


 YOUR BALLOT MUST BE RETURNED SO THAT IT IS ACTUALLY RECEIVED BY
    THE VOTING AND BALLOTING AGENT NO LATER THAN THE 4:00 P.M.
       (PREVAILING EASTERN TIME) [●] [●], 2023, VOTING DEADLINE.



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 VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF:
              CLASS 5 – GENERAL UNSECURED CLAIM(S)

        1.     This Ballot is submitted to you to solicit your vote to accept or reject the
Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May
2June 4, 2023 (as it may be amended or modified, the “Plan”) and Disclosure Statement With
Respect to Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code
dated May 2June 4, 2023 (as it may be amended or modified, “Disclosure Statement”). All
capitalized terms used but not otherwise defined herein or in the Ballot have the meanings
ascribed to such terms in the Plan. PLEASE READ THE PLAN AND THE DISCLOSURE
STATEMENT CAREFULLY BEFORE COMPLETING THIS BALLOT.

        2.     The Plan will be accepted by Class 5 if it is accepted by the holders of two-thirds
in dollar amount and more than one-half in number of the Allowed Claims in Class 5 that have
voted to accept or reject the Plan. In the event that Class 5 rejects the Plan, the Bankruptcy
Court may nevertheless confirm the Plan and thereby make it binding on you if the Bankruptcy
Court finds that the Plan does not unfairly discriminate against and accords fair and equitable
treatment to the holders of Claims in Class 5 and all other Classes of Claims rejecting the Plan,
and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Plan
is confirmed by the Bankruptcy Court, all holders of Claims against and Equity Interests in the
Debtors (including those holders who abstain from voting on or reject the Plan, and those holders
who are not entitled to vote on the Plan) will be bound by the confirmed Plan and the
transactions contemplated thereby, whether or not they vote and whether or not they accept the
Plan.

        3.     To have your vote counted, you must complete, sign and return this Ballot to
Omni Agent Solutions (the “Voting and Balloting Agent”) so that it is received no later than
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”). Ballots may
be delivered by mail in the return envelope provides or as follows:

                 By first class mail or overnight or hand delivery to:
                 Performance Powersports Group Investor, LLC, et al.,
                          OR VIA “E-BALLOT” SUBMISSION.
                 Ballot Processing
                 c/o Omni Agent Solutions
HOW TO COMPLETE   5955 DeYOUR
                           Soto BALLOT
                                Ave., SuiteONLINE.
                                            100
1.  Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
                 Woodland Hills, CA 91367
2.  Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.  Follow the directions to submit your Ballot.

Ballots will not be accepted by email or facsimile.

       4.      To properly complete the Ballot, you must follow the procedure described below:

               a.     make sure that the information contained in Item 1 is correct;


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               a.      if you have a Claim in Class 5, cast one vote to accept or reject the Plan by
                       checking the appropriate box in Item 2;

               b.      if you are completing this Ballot on behalf of another entity, indicating
                       your relationship with such entity and the capacity in which you are
                       signing and if requested, submit satisfactory evidence of your authority to
                       so act (e.g., a power of attorney or a certified copy of board resolutions
                       authorizing you to so act);

               c.      if you also hold Claims in a Class other than Class 5, you may receive
                       more than one Ballot, labeled for a different Class of Claims. Your vote
                       will be counted in determining acceptance or rejection of the Plan by a
                       particular Class of Claims only if you complete, sign, and return the Ballot
                       labeled for the Class of Claims in accordance with the instructions on that
                       Ballot;

               d.      if you believe that you have received the wrong Ballot, please contact the
                       Voting and Balloting Agent immediately;

               e.      provide your name and mailing address;

               f.      sign and date your Ballot; and

               g.      return your originally signed Ballot so that it is received by the Voting
                       Deadline.

        5.      The following Ballots will not be counted in determining the acceptance or
rejection of the Plan: (a) any Ballot that is illegible or contains insufficient information to permit
the identification of the Claim Holder; (b) any Ballot cast by a Person or Entity that does not
hold a Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot or
Ballot not bearing an original signature; (d) any Ballot not marked to accept or reject the Plan, or
marked both to accept and reject the Plan; (e) any Ballot submitted by a party not entitled to cast
a vote with respect to the Plan; and/or (f) any Ballot transmitted to the Voting and Balloting
Agent by facsimile or other means not specifically approved herein.

       6.      Ballots received after the Voting Deadline will not be counted unless the Debtors
determine otherwise or as permitted by applicable law or court order. In all cases, Holders
should be allowed sufficient time to assure time delivery. No Ballot should be sent to the
Debtors or the Debtors’ financial or legal advisors. A Ballot will not be counted unless received
by the Voting and Balloting Agent.




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                    PLEASE SUBMIT YOUR BALLOT PROMPTLY

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT

RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT

RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PLAN, OR IF YOU

NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED

MATERIALS, PLEASE CONTACT THE DEBTORS’ VOTING AND BALLOTING

AGENT, OMNI AGENT SOLUTIONS, BY TELEPHONE AT (747) 263-0129

(TOLL-FREE IN THE UNITED STATES) OR (888) 729-6139 (INTERNATIONAL) AND

REQUEST TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM, OR BY

EMAIL TO performancepowersportsinquiries@omniagnt.com. PLEASE DO NOT DIRECT

ANY INQUIRIES TO THE BANKRUPTCY COURT.




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                                      Exhibit 4

                       Ballot for Class 7 (Subordinated Claims)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
PERFORMANCE POWERSPORTS GROUP                             ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                   )
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )

          CLASS 7: SUBORDINATED CLAIMS BALLOT FOR ACCEPTING OR
         REJECTING DEBTORS’ JOINT CHAPTER 11 PLAN OF LIQUIDATION
             PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

  THIS BALLOT IS ACCOMPANIED BY A POSTAGE PRE-PAID RETURN
  ENVELOPE ADDRESSED TO OMNI AGENT SOLUTIONS (THE “VOTING AND
       Performance
  BALLOTING          Powersports
                 AGENT”).        Group
                               THIS      Investor,MUST
                                      BALLOT        LLC andBEits  debtor affiliates,
                                                               RECEIVED        BY THEas debtors
                                                                                          VOTINGand
  AND BALLOTINGinAGENT
debtors-in-possession            NO LATER
                        the above-captioned    THAN
                                             chapter   114:00
                                                          casesP.M.  (PREVAILING
                                                                (collectively,           EASTERN
                                                                               the “Debtors”)  filed
  TIME) ON [●] [●], 2023 (THE “VOTING DEADLINE”). IF YOUR BALLOT IS NOT
the Debtors’ Joint
  RECEIVED      BY Plan
                    THEofVOTING
                            Liquidation  Pursuant to THE
                                      DEADLINE,        Chapter  11 of theMAY
                                                             DEBTOR       Bankruptcy
                                                                                  REJECTCodeSUCH
                                                                                              dated
  BALLOT
May  2June 4,AS  INVALID.
               2023           IF for
                    (the “Plan”)  THEthe PLAN
                                          DebtorsISinCONFIRMED
                                                      this Case.2 TheBY    THEStates
                                                                        United    BANKRUPTCY
                                                                                        Bankruptcy
  COURT, IT WIL BE BINDING ON YOU WHETHER OR NOT YOU VOTE.
Court for the District of Delaware (the “Bankruptcy Court”) has approved the Disclosure
Statement filed by the Debtors with respect to the Plan.
         This Ballot is being sent to you because our records indicate that you are a holder of one
or more General Unsecured Claim(s) as defined in the Plan, as of [●] [●], 2023 (the “Voting
Record Date”), and, accordingly, you have the right to vote to accept or reject the Plan. Your
rights are described in the Disclosure Statement and the Plan, both accompanying this Ballot.
         The Disclosure Statement and Plan provide information to assist you in deciding how to
vote your Ballot. If you do not have a copy of the Disclosure Statement or Plan, you may request
copies from Omni Agent Solutions by regular mail to: Performance Powersports Group Investor,



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

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       Capitalized terms used but not otherwise defined herein or in the enclosed voting instructions shall have the
meanings ascribed to them in the Plan.

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LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; by overnight delivery to: Performance Powersports Group Investor,
LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; or by emailing performancepowersportsinquiries@omniagnt.com
and referencing “Performance Powersports Group Investor, LLC” in the subject line.
Additionally, copies of the Disclosure Statement and Plan may be viewed or downloaded free of
charge              by        visiting          the           Debtors’           website           at
https://omniagentsolutions.com/PerformancePowersports where documents may be viewed or
downloaded free of charge.
         Court approval of the Disclosure Statement does not indicate approval of the Plan by the
Court.
         You should review the Disclosure Statement and Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. Your claim has been placed in Class 7 – Subordinated Claims against the
Debtors, under the Plan. If you hold claims or equity interests in more than one class
under the Plan, you will receive a separate ballot for each class in which you are entitled to
vote.
         If your ballot is not actually received by the Voting or Balloting Agent on or before
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”), then your
vote will not be counted as either an acceptance or rejection of the Plan.
         If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote.
                         ACCEPTANCE OR REJECTION OF THE PLAN

         This Ballot is to be used solely for purposes of voting to accept or reject the Plan and not
for the purpose of allowance or disallowance of or distribution on account of the Subordinated
Claims.




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PLEASE COMPLETE THE FOLLOWING:

ITEM 1:        AMOUNT OF GENERAL UNSECURED CLAIM. For purposes of voting to
accept or reject the Plan, the undersigned holds a Subordinated Claim(s) in the amount set forth
below.3


                           $___________________________
ITEM 2:        VOTE ON THE PLAN. The undersigned holder of a Subordinated Claim(s) in
the amount set forth in Item 1 above hereby votes to:

Check one box:




ITEM 3:      OPTIONAL RELEASE ELECTION. By checking the box set forth below,
the undersigned Holder of the Class 7 – Subordinated Claim(s) identified herein elects TO
NOT GRANT THE RELEASE set forth in Article IX.D of the Plan, which is also set forth
below:

        Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
        authorized by applicable law, and except as otherwise specifically provided
        in the Plan, including, without limitation specifically excluding the Retained
        Causes of Action, for good and valuable consideration, the adequacy of
        which is hereby confirmed, on and after the Effective Date, each Released
        Party is expressly, unconditionally, generally and individually and
        collectively released, acquitted and discharged by the Releasing Parties from
        any and all actions, claims, obligations, rights, suits, judgments, damages,
        demands, debts, rights, remedies, Causes of Action, and liabilities of any
        nature whatsoever, or any other claim against any or all of the Released
        Parties, asserted or assertable by or on behalf of a Releasing Party or the
        Debtors, including any derivative claims, whether known or unknown,
        foreseen or unforeseen, matured or unmatured, fixed or contingent,
        liquidated or unliquidated, existing or hereinafter arising, in law, equity, or
        otherwise, whether for tort, contract, violations of federal or state securities
        laws, or otherwise, that the Releasing Parties would have been legally
        entitled to assert in their own right (whether individually or collectively) or
        on behalf of the holder of any Claim or Interest or other Entity, based on or
        relating to, or in any manner arising from, in whole or in part, the purchase,
        sale or rescission of the purchase or sale of, or any other transaction relating

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    For voting purposes only, subject to tabulation rules.
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       to any Security of the Debtors, the Debtors, the Debtors’ restructuring
       efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in
       the Plan, the business or contractual arrangements between any Debtor and
       any Released Party, the restructuring of Claims and Interests before or in
       the Chapter 11 Cases, the negotiation, formulation, or preparation of the
       Plan or related agreements, instruments or other documents (including, for
       the avoidance of doubt, providing any legal opinion requested by any Entity
       regarding any transaction, contract, instrument, document, or other
       agreement contemplated by the Plan or the reliance by any Released Party
       on the Plan or the Confirmation Order in lieu of such legal opinion), upon
       any other act or omission, transaction, agreement, event, or other occurrence
       taking place on or before the Effective Date; provided, however, that the
       foregoing releases shall have no effect on the liability of any person or Entity
       that resultshas finally, judicially been determined by a court of competent
       jurisdiction to have resulted from any act or omission based on or arising out
       of gross negligence, fraud or willful misconduct.

The Plan also provides for the following definitions of “Released Party” and “Releasing
Parties” as used in Article IX.D of the Plan:

               “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter
       Kravitz, (d) Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect
       to the foregoing in clause (a) such Entity’s current officers, directors and managers,
       financial advisors, attorneys, accountants, investment bankers, consultants,
       representatives and other professionals, in their capacity as such but specifically
       excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
       affiliated with the same of any nature, and (g) with respect to each of the foregoing
       in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
       assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
       former officers, directors, managers, principals, shareholders, direct and indirect
       equity holders, general partners, limited partners, and members, in their capacity
       as such.

              “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’
       Committee’s advisors; (c) all holders of Claims that vote to accept or are deemed to
       accept the Plan and who do not affirmatively opt out of the releases provided by the
       Plan by checking the box on the applicable ballot or notice indicating that they opt
       not to grant the releases provided in the Plan; (d) all holders of Claims or Interests
       that abstain from voting on the Plan and who do not affirmatively opt out of the
       releases provided by the Plan by checking the box on the applicable ballot
       indicating that they opt not to grant the releases provided in the Plan; and (e) all
       holders of Claims or Interests that vote to reject the Plan and who do not
       affirmatively opt out of the releases provided by the Plan by checking the box on the
       applicable ballot or notice indicating that they opt not to grant the releases provided
       in the Plan; and (f) with respect to each of the foregoing entities in clauses (a)
       through (f), each and all of such entities’ direct and indirect current and former:
                                               4
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       equity holders, affiliates, predecessors, participants, successors and assigns, parents,
       subsidiaries, partners (including general partners and limited partners), managed
       accounts or funds, management companies, fund advisors, investors, beneficial
       owners, managing members, directors, managers, officers, principals, controlling
       persons, employees, agents, financial advisors, partners, attorneys, accountants,
       investment bankers, consultants, representatives and other professionals, advisors,
       and representatives, and each and all of their respective heirs, successors, and legal
       representatives.

In making no affirmative election to “opt out” – including failing to make an election and
return this Ballot in a timely manner – the Holder of a Class 7 – Subordinated Claim(s)
EFFECTIVELY RELEASES all claims against the Released Parties defined in the Plan.




      PLEASE TAKE FURTHER NOTICE THAT unless you affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

PLEASE TAKE FURTHER NOTICE THAT creditors who are entitled to vote but do not
       vote or do not submit a ballot or “abstain” from voting affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

 You are advised to review and consider the Plan, including the Release, Exculpation, and
                       Injunction provisions in Article IX carefully.


ITEM 4:        ACKNOWLEDGEMENTS AND CERTIFICATION. By signing this Ballot,
the undersigned acknowledges that the undersigned has been provided with a copy of the
Disclosure Statement including all exhibits thereto. The undersigned certifies that it (i) is the
holder of a Subordinated Claim(s) identified in Item 1 above and/or (ii) has full power and
authority to vote to accept or reject the Plan. The undersigned further acknowledges that the
Debtors’ solicitation of votes is subject to all terms and conditions set forth in the Disclosure

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Statement and the order of the Bankruptcy Court approving the Disclosure Statement and the
procedures for the solicitation of votes to accept or reject the Plan contained therein.



                     Print or Type Name of Claimant: __________________________________
                                           Signature: __________________________________
       Name if Signatory (if different than Claimant): __________________________________
               If by Authorized Agent, Title of Agent: __________________________________
                                            Address: __________________________________
                                 Telephone Number: __________________________________
                                      Email Address: __________________________________
                                    Date Completed: __________________________________



       PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
      PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

                    By first class mail or overnight or hand delivery to:

                                        OR Investor, LLC, et al.,
              Performance Powersports Group
              Ballot Processing
PLEASE VISIT https://omniagentsolutions.com/PerformancePowersports-BallotsTO
              c/o Omni Agent Solutions
CAST YOUR “E-BALLOT”
              5955 De Soto Ave., Suite 100
              Woodland Hills, CAVIA  “E-BALLOT”
                                  91367



HOW TO COMPLETE YOUR BALLOT ONLINE.

1.     Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.     Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.     Follow the directions to submit your Ballot.


 YOUR BALLOT MUST BE RETURNED SO THAT IT IS ACTUALLY RECEIVED BY
    THE VOTING AND BALLOTING AGENT NO LATER THAN THE 4:00 P.M.
       (PREVAILING EASTERN TIME) [●] [●], 2023, VOTING DEADLINE.




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 VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF:
                 CLASS 7 – SUBORDINATED CLAIM(S)

        1.     This Ballot is submitted to you to solicit your vote to accept or reject the
Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May
2June 4, 2023 (as it may be amended or modified, the “Plan”) and Disclosure Statement With
Respect to Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code
dated May 2June 4, 2023 (as it may be amended or modified, “Disclosure Statement”). All
capitalized terms used but not otherwise defined herein or in the Ballot have the meanings
ascribed to such terms in the Plan. PLEASE READ THE PLAN AND THE DISCLOSURE
STATEMENT CAREFULLY BEFORE COMPLETING THIS BALLOT.

        2.     The Plan will be accepted by Class 7 if it is accepted by the holders of two-thirds
in dollar amount and more than one-half in number of the Allowed Claims in Class 7 that have
voted to accept or reject the Plan. In the event that Class 7 rejects the Plan, the Bankruptcy
Court may nevertheless confirm the Plan and thereby make it binding on you if the Bankruptcy
Court finds that the Plan does not unfairly discriminate against and accords fair and equitable
treatment to the holders of Claims in Class 7 and all other Classes of Claims rejecting the Plan,
and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Plan
is confirmed by the Bankruptcy Court, all holders of Claims against and Equity Interests in the
Debtors (including those holders who abstain from voting on or reject the Plan, and those holders
who are not entitled to vote on the Plan) will be bound by the confirmed Plan and the
transactions contemplated thereby, whether or not they vote and whether or not they accept the
Plan.

        3.     To have your vote counted, you must complete, sign and return this Ballot to
Omni Agent Solutions (the “Voting and Balloting Agent”) so that it is received no later than
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”). Ballots may
be delivered by mail in the return envelope provides or as follows:

                 By first class mail or overnight or hand delivery to:
                 Performance Powersports Group Investor, LLC, et al.,
                          OR VIA “E-BALLOT” SUBMISSION.
                 Ballot Processing
                 c/o Omni Agent Solutions
HOW TO COMPLETE   5955 DeYOUR
                           Soto BALLOT
                                Ave., SuiteONLINE.
                                            100
1.  Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
                 Woodland Hills, CA 91367
2.  Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.  Follow the directions to submit your Ballot.

Ballots will not be accepted by email or facsimile.

       4.      To properly complete the Ballot, you must follow the procedure described below:

               a.     make sure that the information contained in Item 1 is correct;


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               h.      if you have a Claim in Class 7, cast one vote to accept or reject the Plan by
                       checking the appropriate box in Item 2;

               i.      if you are completing this Ballot on behalf of another entity, indicating
                       your relationship with such entity and the capacity in which you are
                       signing and if requested, submit satisfactory evidence of your authority to
                       so act (e.g., a power of attorney or a certified copy of board resolutions
                       authorizing you to so act);

               j.      if you also hold Claims in a Class other than Class 7, you may receive
                       more than one Ballot, labeled for a different Class of Claims. Your vote
                       will be counted in determining acceptance or rejection of the Plan by a
                       particular Class of Claims only if you complete, sign, and return the Ballot
                       labeled for the Class of Claims in accordance with the instructions on that
                       Ballot;

               k.      if you believe that you have received the wrong Ballot, please contact the
                       Voting and Balloting Agent immediately;

               l.      provide your name and mailing address;

               m.      sign and date your Ballot; and

               n.      return your originally signed Ballot so that it is received by the Voting
                       Deadline.

        5.      The following Ballots will not be counted in determining the acceptance or
rejection of the Plan: (a) any Ballot that is illegible or contains insufficient information to permit
the identification of the Claim Holder; (b) any Ballot cast by a Person or Entity that does not
hold a Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot or
Ballot not bearing an original signature; (d) any Ballot not marked to accept or reject the Plan, or
marked both to accept and reject the Plan; (e) any Ballot submitted by a party not entitled to cast
a vote with respect to the Plan; and/or (f) any Ballot transmitted to the Voting and Balloting
Agent by facsimile or other means not specifically approved herein.

       6.      Ballots received after the Voting Deadline will not be counted unless the Debtors
determine otherwise or as permitted by applicable law or court order. In all cases, Holders
should be allowed sufficient time to assure time delivery. No Ballot should be sent to the
Debtors or the Debtors’ financial or legal advisors. A Ballot will not be counted unless received
by the Voting and Balloting Agent.




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                    PLEASE SUBMIT YOUR BALLOT PROMPTLY

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT

RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT

RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PLAN, OR IF YOU

NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED

MATERIALS, PLEASE CONTACT THE DEBTORS’ VOTING AND BALLOTING

AGENT, OMNI AGENT SOLUTIONS, BY TELEPHONE AT (747) 263-0129

(TOLL-FREE IN THE UNITED STATES) OR (888) 729-6139 (INTERNATIONAL) AND

REQUEST TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM, OR BY

EMAIL TO performancepowersportsinquiries@omniagnt.com. PLEASE DO NOT DIRECT

ANY INQUIRIES TO THE BANKRUPTCY COURT.




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                                      Exhibit 5

                            Ballot for Class 8 (Interests)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
PERFORMANCE POWERSPORTS GROUP                             ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                   )
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )

           CLASS 8: INTERESTS BALLOT FOR ACCEPTING OR REJECTING
              DEBTORS’ JOINT CHAPTER 11 PLAN OF LIQUIDATION
             PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

  THIS BALLOT IS ACCOMPANIED BY A POSTAGE PRE-PAID RETURN
  ENVELOPE ADDRESSED TO OMNI AGENT SOLUTIONS (THE “VOTING AND
       Performance
  BALLOTING          Powersports
                 AGENT”).        Group
                               THIS      Investor,MUST
                                      BALLOT        LLC andBEits  debtor affiliates,
                                                               RECEIVED        BY THEas debtors
                                                                                          VOTINGand
  AND BALLOTINGinAGENT
debtors-in-possession            NO LATER
                        the above-captioned    THAN
                                             chapter   114:00
                                                          casesP.M.  (PREVAILING
                                                                (collectively,           EASTERN
                                                                               the “Debtors”)  filed
  TIME) ON [●] [●], 2023 (THE “VOTING DEADLINE”). IF YOUR BALLOT IS NOT
the Debtors’ Joint
  RECEIVED      BY Plan
                    THEofVOTING
                            Liquidation  Pursuant to THE
                                      DEADLINE,        Chapter  11 of theMAY
                                                             DEBTOR       Bankruptcy
                                                                                  REJECTCodeSUCH
                                                                                              dated
  BALLOT
May  2June 4,AS  INVALID.
               2023           IF for
                    (the “Plan”)  THEthe PLAN
                                          DebtorsISinCONFIRMED
                                                      this Case.2 TheBY    THEStates
                                                                        United    BANKRUPTCY
                                                                                        Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) has approved the Disclosure
Statement filed by the Debtors with respect to the Plan.
         This Ballot is being sent to you because our records indicate that you are a holder of one
or more Interests as defined in the Plan, as of [●] [●], 2023 (the “Voting Record Date”), and,
accordingly, you have the right to vote to accept or reject the Plan. Your rights are described in
the Disclosure Statement and the Plan, both accompanying this Ballot.
         The Disclosure Statement and Plan provide information to assist you in deciding how to
vote your Ballot. If you do not have a copy of the Disclosure Statement or Plan, you may request
copies from Omni Agent Solutions by regular mail to: Performance Powersports Group Investor,



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
       Capitalized terms used but not otherwise defined herein or in the enclosed voting instructions shall have the
meanings ascribed to them in the Plan.

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LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; by overnight delivery to: Performance Powersports Group Investor,
LLC, et al., Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
Woodland Hills, CA 91367; or by emailing performancepowersportsinquiries@omniagnt.com
and referencing “Performance Powersports Group Investor, LLC” in the subject line.
Additionally, copies of the Disclosure Statement and Plan may be viewed or downloaded free of
charge              by        visiting          the           Debtors’           website           at
https://omniagentsolutions.com/PerformancePowersports where documents may be viewed or
downloaded free of charge.
         Court approval of the Disclosure Statement does not indicate approval of the Plan by the
Court.
         You should review the Disclosure Statement and Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. Your claim has been placed in Class 8 – Interests against the Debtors, under the
Plan. If you hold claims or equity interests in more than one class under the Plan, you will
receive a separate ballot for each class in which you are entitled to vote.
         If your ballot is not actually received by the Voting or Balloting Agent on or before
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”), then your
vote will not be counted as either an acceptance or rejection of the Plan.
         If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote.
                         ACCEPTANCE OR REJECTION OF THE PLAN

         This Ballot is to be used solely for purposes of voting to accept or reject the Plan and not
for the purpose of allowance or disallowance of or distribution on account of the General
Unsecured Claims.




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PLEASE COMPLETE THE FOLLOWING:

ITEM 1:         AMOUNT/NUMBER OF INTERESTS. For purposes of voting to accept or
reject the Plan, the undersigned holds Interests in the amount/number set forth below.3


                         $___________________________
ITEM 2:     VOTE ON THE PLAN. The undersigned holder of an Interests in the
amount/number set forth in Item 1 above hereby votes to:

Check one box:




ITEM 3:      OPTIONAL RELEASE ELECTION. By checking the box set forth below,
the undersigned Holder of the Class 8 – Interests identified herein elects TO NOT GRANT
THE RELEASE set forth in Article IX.D of the Plan, which is also set forth below:

        Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
        authorized by applicable law, and except as otherwise specifically provided
        in the Plan, including, without limitation specifically excluding the Retained
        Causes of Action, for good and valuable consideration, the adequacy of
        which is hereby confirmed, on and after the Effective Date, each Released
        Party is expressly, unconditionally, generally and individually and
        collectively released, acquitted and discharged by the Releasing Parties from
        any and all actions, claims, obligations, rights, suits, judgments, damages,
        demands, debts, rights, remedies, Causes of Action, and liabilities of any
        nature whatsoever, or any other claim against any or all of the Released
        Parties, asserted or assertable by or on behalf of a Releasing Party or the
        Debtors, including any derivative claims, whether known or unknown,
        foreseen or unforeseen, matured or unmatured, fixed or contingent,
        liquidated or unliquidated, existing or hereinafter arising, in law, equity, or
        otherwise, whether for tort, contract, violations of federal or state securities
        laws, or otherwise, that the Releasing Parties would have been legally
        entitled to assert in their own right (whether individually or collectively) or
        on behalf of the holder of any Claim or Interest or other Entity, based on or
        relating to, or in any manner arising from, in whole or in part, the purchase,
        sale or rescission of the purchase or sale of, or any other transaction relating
        to any Security of the Debtors, the Debtors, the Debtors’ restructuring
        efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the

3
    For voting purposes only, subject to tabulation rules.
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       transactions or events giving rise to, any Claim or Interest that is treated in
       the Plan, the business or contractual arrangements between any Debtor and
       any Released Party, the restructuring of Claims and Interests before or in
       the Chapter 11 Cases, the negotiation, formulation, or preparation of the
       Plan or related agreements, instruments or other documents (including, for
       the avoidance of doubt, providing any legal opinion requested by any Entity
       regarding any transaction, contract, instrument, document, or other
       agreement contemplated by the Plan or the reliance by any Released Party
       on the Plan or the Confirmation Order in lieu of such legal opinion), upon
       any other act or omission, transaction, agreement, event, or other occurrence
       taking place on or before the Effective Date; provided, however, that the
       foregoing releases shall have no effect on the liability of any person or Entity
       that resultshas finally, judicially been determined by a court of competent
       jurisdiction to have resulted from any act or omission based on or arising out
       of gross negligence, fraud or willful misconduct.

The Plan also provides for the following definitions of “Released Party” and “Releasing
Parties” as used in Article IX.D of the Plan:

               “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter
       Kravitz, (d) Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect
       to the foregoing in clause (a) such Entity’s current officers, directors and managers,
       financial advisors, attorneys, accountants, investment bankers, consultants,
       representatives and other professionals, in their capacity as such but specifically
       excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
       affiliated with the same of any nature, and (g) with respect to each of the foregoing
       in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
       assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
       former officers, directors, managers, principals, shareholders, direct and indirect
       equity holders, general partners, limited partners, and members, in their capacity
       as such.

              “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’
       Committee’s advisors; (c) all holders of Claims that vote to accept or are deemed to
       accept the Plan and who do not affirmatively opt out of the releases provided by the
       Plan by checking the box on the applicable ballot or notice indicating that they opt
       not to grant the releases provided in the Plan; (d) all holders of Claims or Interests
       that abstain from voting on the Plan and who do not affirmatively opt out of the
       releases provided by the Plan by checking the box on the applicable ballot
       indicating that they opt not to grant the releases provided in the Plan; and (e) all
       holders of Claims or Interests that vote to reject the Plan and who do not
       affirmatively opt out of the releases provided by the Plan by checking the box on the
       applicable ballot or notice indicating that they opt not to grant the releases provided
       in the Plan; and (f) with respect to each of the foregoing entities in clauses (a)
       through (f), each and all of such entities’ direct and indirect current and former:
       equity holders, affiliates, predecessors, participants, successors and assigns, parents,
       subsidiaries, partners (including general partners and limited partners), managed
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       accounts or funds, management companies, fund advisors, investors, beneficial
       owners, managing members, directors, managers, officers, principals, controlling
       persons, employees, agents, financial advisors, partners, attorneys, accountants,
       investment bankers, consultants, representatives and other professionals, advisors,
       and representatives, and each and all of their respective heirs, successors, and legal
       representatives.

In making no affirmative election to “opt out” – including failing to make an election and
return this Ballot in a timely manner – the Holder of Class 8 – Interests EFFECTIVELY
RELEASES all claims against the Released Parties defined in the Plan.




      PLEASE TAKE FURTHER NOTICE THAT unless you affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

PLEASE TAKE FURTHER NOTICE THAT creditors who are entitled to vote but do not
       vote or do not submit a ballot or “abstain” from voting affirmatively “opt-out”
   of the Third -Party Release in Article IX of the Plan by checking the “opt-out” box in
Item 3 of the Ballot and timely return same to the Solicitation Agent or otherwise object to
      the Release, Exculpation, and Injunction Provisions in Article IX of the Plan by
                  4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you
       will be deemed to have consented to and bound by such provisions of the Plan.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

 You are advised to review and consider the Plan, including the Release, Exculpation, and
                       Injunction provisions in Article IX carefully.


ITEM 4:         ACKNOWLEDGEMENTS AND CERTIFICATION. By signing this Ballot,
the undersigned acknowledges that the undersigned has been provided with a copy of the
Disclosure Statement including all exhibits thereto. The undersigned certifies that it (i) is the
holder of an Interests identified in Item 1 above and/or (ii) has full power and authority to vote to
accept or reject the Plan. The undersigned further acknowledges that the Debtors’ solicitation of
votes is subject to all terms and conditions set forth in the Disclosure Statement and the order of
the Bankruptcy Court approving the Disclosure Statement and the procedures for the solicitation
of votes to accept or reject the Plan contained therein.

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                     Print or Type Name of Claimant: __________________________________
                                           Signature: __________________________________
       Name if Signatory (if different than Claimant): __________________________________
               If by Authorized Agent, Title of Agent: __________________________________
                                            Address: __________________________________
                                 Telephone Number: __________________________________
                                      Email Address: __________________________________
                                    Date Completed: __________________________________




       PLEASE COMPLETE, SIGN, AND DATE THE BALLOT AND RETURN IT
      PROMPTLY IN THE RETURN ENVELOPE PROVIDED OR AS FOLLOWS:

                    By first class mail or overnight or hand delivery to:

                                        OR Investor, LLC, et al.,
              Performance Powersports Group
              Ballot Processing
PLEASE VISIT https://omniagentsolutions.com/PerformancePowersports-BallotsTO
              c/o Omni Agent Solutions
CAST YOUR “E-BALLOT”
              5955 De Soto Ave., Suite 100
              Woodland Hills, CAVIA  “E-BALLOT”
                                  91367



HOW TO COMPLETE YOUR BALLOT ONLINE.

1.     Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.     Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.     Follow the directions to submit your Ballot.


 YOUR BALLOT MUST BE RETURNED SO THAT IT IS ACTUALLY RECEIVED BY
    THE VOTING AND BALLOTING AGENT NO LATER THAN THE 4:00 P.M.
       (PREVAILING EASTERN TIME) [●] [●], 2023, VOTING DEADLINE.


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 VOTING INSTRUCTIONS FOR COMPLETING THE BALLOT FOR HOLDERS OF:
                       CLASS 8 – INTERESTS

        1.     This Ballot is submitted to you to solicit your vote to accept or reject the
Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May
2June 4, 2023 (as it may be amended or modified, the “Plan”) and Disclosure Statement With
Respect to Debtors’ Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code
dated May 2June 4, 2023 (as it may be amended or modified, “Disclosure Statement”). All
capitalized terms used but not otherwise defined herein or in the Ballot have the meanings
ascribed to such terms in the Plan. PLEASE READ THE PLAN AND THE DISCLOSURE
STATEMENT CAREFULLY BEFORE COMPLETING THIS BALLOT.

        2.     The Plan will be accepted by Class 8 if it is accepted by the holders of two-thirds
in dollar amount and more than one-half in number of the Allowed Interests in Class 8 that have
voted to accept or reject the Plan. In the event that Class 8 rejects the Plan, the Bankruptcy
Court may nevertheless confirm the Plan and thereby make it binding on you if the Bankruptcy
Court finds that the Plan does not unfairly discriminate against and accords fair and equitable
treatment to the holders of Claims in Class 8 and all other Classes of Claims rejecting the Plan,
and otherwise satisfies the requirements of section 1129(b) of the Bankruptcy Code. If the Plan
is confirmed by the Bankruptcy Court, all holders of Claims against and Equity Interests in the
Debtors (including those holders who abstain from voting on or reject the Plan, and those holders
who are not entitled to vote on the Plan) will be bound by the confirmed Plan and the
transactions contemplated thereby, whether or not they vote and whether or not they accept the
Plan.

        3.     To have your vote counted, you must complete, sign and return this Ballot to
Omni Agent Solutions (the “Voting and Balloting Agent”) so that it is received no later than
4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023 (the “Voting Deadline”). Ballots may
be delivered by mail in the return envelope provides or as follows:

                    By first class mail or overnight or hand delivery to:
                    Performance Powersports Group Investor, LLC, et al.,
                            OR VIA “E-BALLOT” SUBMISSION.
                    Ballot Processing
                    c/o Omni Agent Solutions
                     5955 De Soto Ave., Suite 100
                    Woodland Hills, CA 91367


HOW TO COMPLETE YOUR BALLOT ONLINE.
1.  Please visit https://omniagentsolutions.com/PerformancePowersports-Ballots
2.  Click on the “E-Ballot” link of the Voting and Balloting Agent’s website.
3.  Follow the directions to submit your Ballot.

Ballots will not be accepted by email or facsimile.


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       4.      To properly complete the Ballot, you must follow the procedure described below:
               a.     make sure that the information contained in Item 1 is correct;

               o.      if you have an Interest in Class 8, cast one vote to accept or reject the Plan
                       by checking the appropriate box in Item 2;

               p.      if you are completing this Ballot on behalf of another entity, indicating
                       your relationship with such entity and the capacity in which you are
                       signing and if requested, submit satisfactory evidence of your authority to
                       so act (e.g., a power of attorney or a certified copy of board resolutions
                       authorizing you to so act);

               q.      if you also hold a Claim in a Class other than Class 8, you may receive
                       more than one Ballot, labeled for a different Class of Claims. Your vote
                       will be counted in determining acceptance or rejection of the Plan by a
                       particular Class of Claims only if you complete, sign, and return the Ballot
                       labeled for the Class of Claims in accordance with the instructions on that
                       Ballot;

               r.      if you believe that you have received the wrong Ballot, please contact the
                       Voting and Balloting Agent immediately;

               s.      provide your name and mailing address;

               t.      sign and date your Ballot; and

               u.      return your originally signed Ballot so that it is received by the Voting
                       Deadline.

        5.      The following Ballots will not be counted in determining the acceptance or
rejection of the Plan: (a) any Ballot that is illegible or contains insufficient information to permit
the identification of the Claim Holder; (b) any Ballot cast by a Person or Entity that does not
hold a Claim or Interest in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot or
Ballot not bearing an original signature; (d) any Ballot not marked to accept or reject the Plan, or
marked both to accept and reject the Plan; (e) any Ballot submitted by a party not entitled to cast
a vote with respect to the Plan; and/or (f) any Ballot transmitted to the Voting and Balloting
Agent by facsimile or other means not specifically approved herein.

       6.      Ballots received after the Voting Deadline will not be counted unless the Debtors
determine otherwise or as permitted by applicable law or court order. In all cases, Holders
should be allowed sufficient time to assure time delivery. No Ballot should be sent to the
Debtors or the Debtors’ financial or legal advisors. A Ballot will not be counted unless received
by the Voting and Balloting Agent.




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                    PLEASE SUBMIT YOUR BALLOT PROMPTLY

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, OR IF YOU DID NOT

RECEIVE A RETURN ENVELOPE WITH YOUR BALLOT, OR IF YOU DID NOT

RECEIVE A COPY OF THE DISCLOSURE STATEMENT OR PLAN, OR IF YOU

NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED

MATERIALS, PLEASE CONTACT THE DEBTORS’ VOTING AND BALLOTING

AGENT, OMNI AGENT SOLUTIONS, BY TELEPHONE AT (747) 263-0129

(TOLL-FREE IN THE UNITED STATES) OR (888) 729-6139 (INTERNATIONAL) AND

REQUEST TO SPEAK WITH A MEMBER OF THE SOLICITATION TEAM, OR BY

EMAIL TO performancepowersportsinquiries@omniagnt.com. PLEASE DO NOT DIRECT

ANY INQUIRIES TO THE BANKRUPTCY COURT.




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                                       Exhibit 6

                    Notice of Non-Voting Status – Unimpaired Classes




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
PERFORMANCE POWERSPORTS GROUP                            ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                  )
                                                         )
                                   Debtors.              ) (Jointly Administered)
                                                         )

             NOTICE OF NON-VOTING STATUS TO UNIMPAIRED CLASSES2


         PLEASE TAKE NOTICE that on [●] [●], 2023, the United States Bankruptcy Court for
the District of Delaware approved the Disclosure Statement With Respect to Debtors’ Joint Plan
of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May 2June 4, 2023 (the
“Disclosure Statement”) filed by Performance Powersports Group Investor, LLC, Performance
Powersports Group Holdings, Inc., Performance Powersports Group Purchaser, Inc., and
Performance Powersports Group, Inc. (collectively, the “Debtors”) for use by the Debtors in
soliciting acceptance or rejections of the Debtors’ Joint Plan of Liquidation Pursuant to Chapter
11 of the Bankruptcy Code dated May 2June 4, 2023 (the “Plan”) from holders of impaired
claims who are (or may be) entitled to receive distributions under the Plan.
         UNDER THE TERMS OF THE PLAN, YOUR CLAIM(S) AGAINST ONE OR
MORE OF THE DEBTORS IS/ARE NOT IMPAIRED AND, THEREFORE, PURSUANT
TO SECTION 1126(F) OF TITLE 11 OF THE UNITED STATES CODE, YOU ARE (I)
DEEMED TO HAVE ACCEPTED THE PLAN AND (II) NOT ENTITLED TO VOTE ON
THE PLAN. IF YOU HAVE ANY QUESTIONS ABOUT THE STATUS OF YOUR
CLAIM(S), OR YOU WANT TO REQUEST A COPY OF THE PLAN AND



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
        The Unimpaired Classes under the Plan are Class 1 (Secured Tax Claims), Class 2 (Other Secured Claims),
and Class 3 (Other Priority Claims).

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DISCLOSURE STATEMENT, YOU SHOULD CONTACT THE DEBTORS’ VOTING
AND BALLOTING AGENT: OMNI AGENT SOLUTIONS, BY REGULAR MAIL OR
OVERNIGHT           DELIVERY      TO:    PERFORMANCE           POWERSPORTS          GROUP
INVESTOR, LLC, ET AL., BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS,
5955 DE SOTO AVE., SUITE 100, WOODLAND HILLS, CA 91367, OR BY EMAILING
AT PERFORMANCEPOWERSPORTSINQUIRIES@OMNIAGNT.COM.
       COPIES OF THE DISCLOSURE STATEMENT AND THE PLAN MAY BE
VIEWED OR DOWNLOADED FREE OF CHARGE BY VISITING THE DEBTORS’
WEBSITE AT https//omniagentsolutions.com/PerformancePowersports.
        PLEASE TAKE FURTHER NOTICE THAT Article IX of the Plan contains
              Release, Exculpation, and Injunction Provisions, and Article IX
          contains a Third-Party Release. You are advised to review and consider
      the Plan, including the release, injunction, and exculpation provisions carefully,
                        as your rights might be affected thereunder.

    PLEASE TAKE FURTHER NOTICE THAT if you do not object to the Release,
 Exculpation, and Injunction Provisions of the Plan WHICH ARE SET FORTH BELOW
      by 4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you will be deemed to
   have consented to such provisions of the Plan and will be bound by such provisions.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

        This Notice is being sent to you for informational purposes only. If you have
    questions with respect to your rights under the Plan or about anything stated herein
    or if you would like to obtain additional information, contact the Solicitation Agent.

       PLEASE TAKE FURTHER NOTICE that the Plan provides for the following

provisions in Article IX:

               A.     Satisfaction and Release of Claims and Interests.

       In consideration for the distributions and other benefits provided pursuant to the
       Plan, or in any contract, instrument, or other agreement or document created
       pursuant to or in connection with the Plan, the distributions, rights, and treatment
       that are provided in the Plan shall, except as expressly provided in the Plan, be in
       complete satisfaction and release, effective as of the Effective Date, of Claims
       (including any Intercompany Claims resolved or compromised after the Effective
       Date by the Debtors), Interests, and Causes of Action of any nature whatsoever,
       including any interest accrued on Claims or Interests from and after the Petition
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       Date, whether known or unknown, against, liabilities of, Liens on, obligations of,
       rights against, and Interests in, the Debtors or any of their assets or properties,
       regardless of whether any property shall have been distributed or retained
       pursuant to the Plan on account of such Claims and Interests, including demands,
       liabilities, and Causes of Action that arose before the Effective Date, any liability
       (including withdrawal liability) to the extent such Claims or Interests relate to
       services performed by employees of the Debtors before the Effective Date and that
       arise from a termination of employment, any contingent or non-contingent liability
       on account of representations or warranties issued on or before the Effective Date,
       and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
       Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Proof of
       Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant
       to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such
       debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code;
       or (3) the holder of such a Claim or Interest has accepted the Plan. Subject to the
       occurrence of the Effective Date, the Confirmation Order shall be a judicial
       determination of the satisfaction and release of all Claims and Interests against and
       in the Debtors.

               B.    Liabilities to, and Rights of, Governmental Units.

       Notwithstanding anything to the contrary in the Plan or the Confirmation Order,
       nothing in the Confirmation Order or the Plan discharges, releases, precludes, or
       enjoins: (1) any liability to any Governmental Unit that is not a Claim; (2) any
       Claim of a Governmental Unit arising after the Effective Date; (3) any police power
       or regulatory liability to a Governmental Unit that any Entity would be subject to as
       the owner or operator of any property after the Effective Date; (4) the rights of any
       Governmental Unit with respect to the transfer or assignment of any license, permit,
       registration, authorization, or approval, in each case, to the extent provided under
       applicable law; and/or (5) any liability to a Governmental Unit on the part of any
       Entity.

               C.    Exculpation.

       Effective as of the Effective Date, no Exculpated Party shall have or incur, and each
       Exculpated Party is hereby released and exculpated from, any Exculpated Claim or
       any obligation, Cause of Action, or liability for any Exculpated Claim; provided,
       however, that the foregoing exculpation shall have no effect on the liability of any
       person or Entity that results from any act or omission based on or arising out of
       gross negligence, fraud or willful misconduct.

               D.    Release

       Notwithstanding anything in the Plan to the contrary, nothing in this release shall
       be constructed to release any post-Effective Date obligations or remedies of any
       Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or

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       any document, instrument or agreement (including those set forth in the Plan
       Supplement) executed to implement the Plan.


                     1.      Releases by the Debtors

       Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
       authorized by applicable law, and except as otherwise specifically provided in the
       Plan ( including, without limitation, the exclusion of the Retained Causes of Action),
       for good and valuable consideration, the adequacy of which is hereby confirmed, on
       and after the Effective Date, each Released Party is expressly, unconditionally,
       generally and individually and collectively released, acquitted and discharged by
       the Debtors and their Estates from any and all actions, claims, obligations, rights,
       suits, judgments, damages, demands, debts, rights, remedies, Causes of Action, and
       liabilities of any nature whatsoever, or any other claim against any Released Party,
       asserted on behalf of the Debtors, whether known or unknown, foreseen or
       unforeseen, matured or unmatured, fixed or contingent, liquidated or unliquidated,
       existing or hereinafter arising, in law, equity, or otherwise, whether for tort,
       contract, violations of federal or state securities laws, or otherwise, that the Debtors
       or their Estates would have been legally entitled to assert in their own right
       (whether individually or collectively) or on behalf of the holder of any Claim or
       Interest or other Entity, based on or relating to, or in any manner arising from, in
       whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
       other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
       restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in the
       Plan, the business or contractual arrangements between any Debtor and any
       Released Party, the restructuring of Claims and Interests before or in the Chapter
       11 Cases, the negotiation, formulation, or preparation of the Plan or related
       agreements, instruments or other documents (including, for the avoidance of doubt,
       providing any legal opinion requested by any Entity regarding any transaction,
       contract, instrument, document, or other agreement contemplated by the Plan or
       the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
       such legal opinion), upon any other act or omission, transaction, agreement, event,
       or other occurrence taking place on or before the Effective Date; provided,
       however, that the foregoing releases shall have no effect on the liability of any
       person or Entity that resultshas finally, judicially been determined by a court of
       competent jurisdiction to have resulted from any act or omission based on or arising
       out of gross negligence, fraud or willful misconduct.

       Notwithstanding anything in the Plan to the contrary, nothing in this release shall
       be constructed to release any post-Effective Date obligations or remedies of any
       Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or
       any document, instrument or agreement (including those set forth in the Plan
       Supplement) executed to implement the Plan.

                     2.      Releases by Holders
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       Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
       authorized by applicable law, and except as otherwise specifically provided in the
       Plan, including, without limitation specifically excluding the Retained Causes of
       Action, for good and valuable consideration, the adequacy of which is hereby
       confirmed, on and after the Effective Date, each Released Party is expressly,
       unconditionally, generally and individually and collectively released, acquitted and
       discharged by the Releasing Parties from any and all actions, claims, obligations,
       rights, suits, judgments, damages, demands, debts, rights, remedies, Causes of
       Action, and liabilities of any nature whatsoever, or any other claim against any or
       all of the Released Parties, asserted or assertable by or on behalf of a Releasing
       Party or the Debtors, including any derivative claims, whether known or unknown,
       foreseen or unforeseen, matured or unmatured, fixed or contingent, liquidated or
       unliquidated, existing or hereinafter arising, in law, equity, or otherwise, whether
       for tort, contract, violations of federal or state securities laws, or otherwise, that the
       Releasing Parties would have been legally entitled to assert in their own right
       (whether individually or collectively) or on behalf of the holder of any Claim or
       Interest or other Entity, based on or relating to, or in any manner arising from, in
       whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
       other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
       restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
       transactions or events giving rise to, any Claim or Interest that is treated in the
       Plan, the business or contractual arrangements between any Debtor and any
       Released Party, the restructuring of Claims and Interests before or in the Chapter
       11 Cases, the negotiation, formulation, or preparation of the Plan or related
       agreements, instruments or other documents (including, for the avoidance of doubt,
       providing any legal opinion requested by any Entity regarding any transaction,
       contract, instrument, document, or other agreement contemplated by the Plan or
       the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
       such legal opinion), upon any other act or omission, transaction, agreement, event,
       or other occurrence taking place on or before the Effective Date; provided,
       however, that the foregoing releases shall have no effect on the liability of any
       person or Entity that resultshas finally, judicially been determined by a court of
       competent jurisdiction to have resulted from any act or omission based on or arising
       out of gross negligence, fraud or willful misconduct.

               E.     Injunction.

       Except as otherwise provided in the Plan or the Confirmation Order, as of the
       Effective Date, all Entities that have held, hold or may hold any Interest in the
       Debtors or a Claim, Cause of Action, or other debt or liability against the Debtors
       or against any Released Party or Exculpated Party that have been released and/or
       exculpated under the this Plan (the “Released/Exculpated Claims and Interests”)
       are permanently enjoined from taking any of the following actions against the
       Debtors, the Estates, the Plan Administrator, the Litigation Trust, the Litigation
       Trustee, the Litigation Trust Assets, or the Released Parties or their respective
       predecessors, successors and assigns, subsidiaries, Affiliates, current (as of the
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       Effective Date) directors, officers, principals, shareholders, members, partners,
       employees, agents, financial advisors, attorneys, accounts, investment bankers,
       consultants, representatives, and other Professionals solely in their respective
       capacities as such or any property of the same, on account of suchany Released
       ClaimsParty and InterestsExculpated Party: (i) commencing or continuing, in any
       manner or in any place, any action or other proceeding on account of such
       Released/Exculpated Claim; (ii) enforcing, attaching, collecting or recovering in any
       manner any judgment, award, decree or order on account of such
       Released/Exculpated Claim; (iii) creating, perfecting or enforcing any lien or
       encumbrance on account of such Released/Exculpated Claim; (iv) asserting any
       right of setoff (other than setoffs exercised prior to the Petition Date), or
       subrogation of any kind against any debt, liability or obligation on account of or in
       connection with or with respect to any Released Claims or Interests/Exculpated
       Claim; and (c) commencing or continuing in any manner or in any place, any action
       that does not comply with or is inconsistent with this provision; provided, however,
       that the foregoing injunction shall have no effect on the liability of any person or
       Entity that resultshas finally, judicially been determined by a court of competent
       jurisdiction to have resulted from any act or omission based on or arising out of
       gross negligence, fraud or willful misconduct; provided further, however, that the
       foregoing injunction does not apply to any actions taken with respect to any party’s
       obligations or remedies under the Plan, the Sale Order, the Asset Purchase
       Agreement or any other or any document, instrument or agreement (including those
       set forth in the Plan Supplement) executed to implement the Plan.

               F.    Term of Injunctions or Stays.

       Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions
       or stays in effect in the Chapter 11 Cases pursuant to section 105 or 362 of the
       Bankruptcy Code or any order of the Bankruptcy Court, and existent on the
       Confirmation Date (excluding any injunctions or stays contained in the Plan or the
       Confirmation Order), shall remain in full force and effect until the Effective Date.
       All injunctions or stays contained in the Plan or the Confirmation Order shall
       remain in full force and effect in accordance with their terms.

      The Plan also provides for the following definitions of “Released Party” and
“Releasing Parties”:

       “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter Kravitz, (d)
       Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect to the
       foregoing in clause (a) such Entity’s current officers, directors and managers,
       financial advisors, attorneys, accountants, investment bankers, consultants,
       representatives and other professionals, in their capacity as such but specifically
       excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
       affiliated with the same of any nature, and (g) with respect to each of the foregoing
       in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
       assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
       former officers, directors, managers, principals, shareholders, direct and indirect
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       equity holders, general partners, limited partners, and members, in their capacity
       as such.

       “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’ Committee’s
       advisors; (c) all holders of Claims that vote to accept or are deemed to accept the
       Plan and who do not affirmatively opt out of the releases provided by the Plan by
       checking the box on the applicable ballot or notice indicating that they opt not to
       grant the releases provided in the Plan; (d) all holders of Claims or Interests that
       abstain from voting on the Plan and who do not affirmatively opt out of the releases
       provided by the Plan by checking the box on the applicable ballot indicating that
       they opt not to grant the releases provided in the Plan; and (e) all holders of Claims
       or Interests that vote to reject the Plan and who do not affirmatively opt out of the
       releases provided by the Plan by checking the box on the applicable ballot or notice
       indicating that they opt not to grant the releases provided in the Plan; and (f) with
       respect to each of the foregoing entities in clauses (a) through (f), each and all of
       such entities’ direct and indirect current and former: equity holders, affiliates,
       predecessors, participants, successors and assigns, parents, subsidiaries, partners
       (including general partners and limited partners), managed accounts or funds,
       management companies, fund advisors, investors, beneficial owners, managing
       members, directors, managers, officers, principals, controlling persons, employees,
       agents, financial advisors, partners, attorneys, accountants, investment bankers,
       consultants, representatives and other professionals, advisors, and representatives,
       and each and all of their respective heirs, successors, and legal representatives.


Dated: [●]June [●], 2023             /s/ DRAFT
Wilmington, Delaware                Domenic E. Pacitti (DE Bar No. 3989)
                                    Michael W. Yurkewicz (DE Bar No. 4165)
                                    Sally E. Veghte (DE Bar No. 4762)
                                    KLEHR HARRISON HARVEY BRANZBURG LLP
                                    919 North Market Street, Suite 1000
                                    Wilmington, Delaware 19801
                                    Telephone: (302) 426-1189
                                    Facsimile:    (302) 426-9193
                                    Email: dpacitti@klehr.com
                                              myurkewicz@klehr.com
                                             sveghte@klehr.com
                                    -and-
                                    Morton R. Branzburg (admitted pro hac vice)
                                    KLEHR HARRISON HARVEY BRANZBURG LLP
                                    1835 Market Street, Suite 1400
                                    Philadelphia, Pennsylvania 19103
                                    Telephone: (215) 569-2700
                                    Facsimile:     (215) 568-6603
                                    Email: mbranzburg@klehr.com
                                    Counsel for the Debtors and Debtors in Possession
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                                      Exhibit 7

                    Notice of Non-Voting Status – Impaired Classes




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   ) Chapter 11
                                                         )
PERFORMANCE POWERSPORTS GROUP                            ) Case No. 23-10047 (LSS)
INVESTOR, LLC, et al.,1                                  )
                                                         )
                                   Debtors.              ) (Jointly Administered)
                                                         )

                           NOTICE OF NON-VOTING STATUS TO
                        IMPAIRED CLASSES NOT ENTITLED TO VOTE2


         PLEASE TAKE NOTICE that on [●] [●], 2023, the United States Bankruptcy Court for
the District of Delaware approved the Disclosure Statement With Respect to Debtors’ Joint Plan
of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code dated May 2June 4, 2023 (the
“Disclosure Statement”) filed by Performance Powersports Group Investor, LLC, Performance
Powersports Group Holdings, Inc., Performance Powersports Group Purchaser, Inc., and
Performance Powersports Group, Inc. (collectively, the “Debtors”) for use by the Debtors in
soliciting acceptance or rejections of their Debtors’ Joint Plan of Liquidation Pursuant to
Chapter 11 of the Bankruptcy Code dated May 2June 4, 2023 (the “Plan”) from holders of
impaired claims who are (or may be) entitled to receive distributions under the Plan.
         UNDER THE TERMS OF THE PLAN, YOU ARE NOT ENTITLED TO
RECEIVE OR RETAIN ANY PROPERTY ON ACCOUNT OF YOUR CLAIM(S) OR
INTEREST(S) IN ANY OR ALL OF THE DEBTORS. THEREFORE, PURSUANT TO
SECTION 1126(G) OF TITLE 11 OF THE UNITED STATES CODE, YOU ARE (I)
DEEMED TO HAVE REJECTED THE PLAN AND (II) NOT ENTITLED TO VOTE ON
THE PLAN. IF YOU HAVE ANY QUESTIONS ABOUT THE STATUS OF YOUR
CLAIM(S) OR INTEREST(S), OR YOU WANT TO REQUEST A COPY OF THE PLAN



1
         The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective
federal tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068);
Performance Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533);
and Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
University Drive, Tempe, Arizona 85281.

2
         The Impaired Classes not entitled to vote under the Plan are Class 6 (Intercompany Claims).
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AND DISCLOSURE STATEMENT, YOU SHOULD CONTACT THE DEBTORS’
VOTING AND BALLOTING AGENT: OMNI AGENT SOLUTIONS, BY REGULAR
MAIL OR OVERNIGHT DELIVERY TO: PERFORMANCE POWERSPORTS GROUP
INVESTOR, LLC, ET AL., BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS,
5955 DE SOTO AVE., SUITE 100, WOODLAND HILLS, CA 91367, OR BY EMAILING AT
PERFORMANCEPOWERSPORTINQUIRIES@OMNIAGNT.COM.
        COPIES OF THE DISCLOSURE STATEMENT AND THE PLAN MAY BE
VIEWED OR DOWNLOADED FREE OF CHARGE BY VISITING THE DEBTORS’
WEBSITE AT https://omniagentsolutions.com/PerformancePowersports.
        PLEASE TAKE FURTHER NOTICE THAT Article IX of the Plan contains
              Release, Exculpation, and Injunction Provisions, and Article IX
          contains a Third-Party Release. You are advised to review and consider
      the Plan, including the release, injunction, and exculpation provisions carefully,
                        as your rights might be affected thereunder.

    PLEASE TAKE FURTHER NOTICE THAT if you do not object to the Release,
 Exculpation, and Injunction Provisions of the Plan WHICH ARE SET FORTH BELOW
      by 4:00 p.m. (prevailing Eastern Time) on [●] [●], 2023, you will be deemed to
   have consented to such provisions of the Plan and will be bound by such provisions.

 PLEASE TAKE FURTHER NOICE THAT “opting-out” of the Third -Party Release in
 Article IX of the Plan does not affect the distributions creditors or interestholders may be
                                  entitled to under the Plan.

        This Notice is being sent to you for informational purposes only. If you have
    questions with respect to your rights under the Plan or about anything stated herein
    or if you would like to obtain additional information, contact the Solicitation Agent.

        PLEASE TAKE FURTHER NOTICE that the Plan provides for the following

provisions in Article IX:

                A.    Satisfaction and Release of Claims and Interests.

        In consideration for the distributions and other benefits provided pursuant to the
        Plan, or in any contract, instrument, or other agreement or document created
        pursuant to or in connection with the Plan, the distributions, rights, and treatment
        that are provided in the Plan shall, except as expressly provided in the Plan, be in
        complete satisfaction and release, effective as of the Effective Date, of Claims
        (including any Intercompany Claims resolved or compromised after the Effective
        Date by the Debtors), Interests, and Causes of Action of any nature whatsoever,
        including any interest accrued on Claims or Interests from and after the Petition
        Date, whether known or unknown, against, liabilities of, Liens on, obligations of,
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        rights against, and Interests in, the Debtors or any of their assets or properties,
        regardless of whether any property shall have been distributed or retained
        pursuant to the Plan on account of such Claims and Interests, including demands,
        liabilities, and Causes of Action that arose before the Effective Date, any liability
        (including withdrawal liability) to the extent such Claims or Interests relate to
        services performed by employees of the Debtors before the Effective Date and that
        arise from a termination of employment, any contingent or non-contingent liability
        on account of representations or warranties issued on or before the Effective Date,
        and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
        Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Proof of
        Interest based upon such debt, right, or Interest is Filed or deemed Filed pursuant
        to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such
        debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code;
        or (3) the holder of such a Claim or Interest has accepted the Plan. Subject to the
        occurrence of the Effective Date, the Confirmation Order shall be a judicial
        determination of the satisfaction and release of all Claims and Interests against and
        in the Debtors.

                B.    Liabilities to, and Rights of, Governmental Units.

        Notwithstanding anything to the contrary in the Plan or the Confirmation Order,
        nothing in the Confirmation Order or the Plan discharges, releases, precludes, or
        enjoins: (1) any liability to any Governmental Unit that is not a Claim; (2) any
        Claim of a Governmental Unit arising after the Effective Date; (3) any police power
        or regulatory liability to a Governmental Unit that any Entity would be subject to as
        the owner or operator of any property after the Effective Date; (4) the rights of any
        Governmental Unit with respect to the transfer or assignment of any license, permit,
        registration, authorization, or approval, in each case, to the extent provided under
        applicable law; and/or (5) any liability to a Governmental Unit on the part of any
        Entity.

                C.    Exculpation.

        Effective as of the Effective Date, no Exculpated Party shall have or incur, and each
        Exculpated Party is hereby released and exculpated from, any Exculpated Claim or
        any obligation, Cause of Action, or liability for any Exculpated Claim; provided,
        however, that the foregoing exculpation shall have no effect on the liability of any
        person or Entity that results from any act or omission based on or arising out of
        gross negligence, fraud or willful misconduct.

                D.    Release

        Notwithstanding anything in the Plan to the contrary, nothing in this release shall
        be constructed to release any post-Effective Date obligations or remedies of any
        Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or
        any document, instrument or agreement (including those set forth in the Plan
        Supplement) executed to implement the Plan.

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                      1.      Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
        authorized by applicable law, and except as otherwise specifically provided in the
        Plan ( including, without limitation, the exclusion of the Retained Causes of Action),
        for good and valuable consideration, the adequacy of which is hereby confirmed, on
        and after the Effective Date, each Released Party is expressly, unconditionally,
        generally and individually and collectively released, acquitted and discharged by
        the Debtors and their Estates from any and all actions, claims, obligations, rights,
        suits, judgments, damages, demands, debts, rights, remedies, Causes of Action, and
        liabilities of any nature whatsoever, or any other claim against any Released Party,
        asserted on behalf of the Debtors, whether known or unknown, foreseen or
        unforeseen, matured or unmatured, fixed or contingent, liquidated or unliquidated,
        existing or hereinafter arising, in law, equity, or otherwise, whether for tort,
        contract, violations of federal or state securities laws, or otherwise, that the Debtors
        or their Estates would have been legally entitled to assert in their own right
        (whether individually or collectively) or on behalf of the holder of any Claim or
        Interest or other Entity, based on or relating to, or in any manner arising from, in
        whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
        other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
        restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
        transactions or events giving rise to, any Claim or Interest that is treated in the
        Plan, the business or contractual arrangements between any Debtor and any
        Released Party, the restructuring of Claims and Interests before or in the Chapter
        11 Cases, the negotiation, formulation, or preparation of the Plan or related
        agreements, instruments or other documents (including, for the avoidance of doubt,
        providing any legal opinion requested by any Entity regarding any transaction,
        contract, instrument, document, or other agreement contemplated by the Plan or
        the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
        such legal opinion), upon any other act or omission, transaction, agreement, event,
        or other occurrence taking place on or before the Effective Date; provided,
        however, that the foregoing releases shall have no effect on the liability of any
        person or Entity that resultshas finally, judicially been determined by a court of
        competent jurisdiction to have resulted from any act or omission based on or arising
        out of gross negligence, fraud or willful misconduct.

        Notwithstanding anything in the Plan to the contrary, nothing in this release shall
        be constructed to release any post-Effective Date obligations or remedies of any
        Released Party under the Plan, the Sale Order, the Asset Purchase Agreement, or
        any document, instrument or agreement (including those set forth in the Plan
        Supplement) executed to implement the Plan.

                      2.      Releases by Holders



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        Pursuant to section 1123(b) of the Bankruptcy Code and to the fullest extent
        authorized by applicable law, and except as otherwise specifically provided in the
        Plan, including, without limitation specifically excluding the Retained Causes of
        Action, for good and valuable consideration, the adequacy of which is hereby
        confirmed, on and after the Effective Date, each Released Party is expressly,
        unconditionally, generally and individually and collectively released, acquitted and
        discharged by the Releasing Parties from any and all actions, claims, obligations,
        rights, suits, judgments, damages, demands, debts, rights, remedies, Causes of
        Action, and liabilities of any nature whatsoever, or any other claim against any or
        all of the Released Parties, asserted or assertable by or on behalf of a Releasing
        Party or the Debtors, including any derivative claims, whether known or unknown,
        foreseen or unforeseen, matured or unmatured, fixed or contingent, liquidated or
        unliquidated, existing or hereinafter arising, in law, equity, or otherwise, whether
        for tort, contract, violations of federal or state securities laws, or otherwise, that the
        Releasing Parties would have been legally entitled to assert in their own right
        (whether individually or collectively) or on behalf of the holder of any Claim or
        Interest or other Entity, based on or relating to, or in any manner arising from, in
        whole or in part, the purchase, sale or rescission of the purchase or sale of, or any
        other transaction relating to any Security of the Debtors, the Debtors, the Debtors’
        restructuring efforts, the Chapter 11 Cases, the Plan, the subject matter of, or the
        transactions or events giving rise to, any Claim or Interest that is treated in the
        Plan, the business or contractual arrangements between any Debtor and any
        Released Party, the restructuring of Claims and Interests before or in the Chapter
        11 Cases, the negotiation, formulation, or preparation of the Plan or related
        agreements, instruments or other documents (including, for the avoidance of doubt,
        providing any legal opinion requested by any Entity regarding any transaction,
        contract, instrument, document, or other agreement contemplated by the Plan or
        the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
        such legal opinion), upon any other act or omission, transaction, agreement, event,
        or other occurrence taking place on or before the Effective Date; provided,
        however, that the foregoing releases shall have no effect on the liability of any
        person or Entity that resultshas finally, judicially been determined by a court of
        competent jurisdiction to have resulted from any act or omission based on or arising
        out of gross negligence, fraud or willful misconduct.

                E.     Injunction.

        Except as otherwise provided in the Plan or the Confirmation Order, as of the
        Effective Date, all Entities that have held, hold or may hold any Interest in the
        Debtors or a Claim, Cause of Action, or other debt or liability against the Debtors
        or against any Released Party or Exculpated Party that have been released and/or
        exculpated under the this Plan (the “Released/Exculpated Claims and Interests”)
        are permanently enjoined from taking any of the following actions against the
        Debtors, the Estates, the Plan Administrator, the Litigation Trust, the Litigation
        Trustee, the Litigation Trust Assets, or the Released Parties or their respective
        predecessors, successors and assigns, subsidiaries, Affiliates, current (as of the
        Effective Date) directors, officers, principals, shareholders, members, partners,

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        employees, agents, financial advisors, attorneys, accounts, investment bankers,
        consultants, representatives, and other Professionals solely in their respective
        capacities as such or any property of the same, on account of suchany Released
        ClaimsParty and InterestsExculpated Party: (i) commencing or continuing, in any
        manner or in any place, any action or other proceeding on account of such
        Released/Exculpated Claim; (ii) enforcing, attaching, collecting or recovering in any
        manner any judgment, award, decree or order on account of such
        Released/Exculpated Claim; (iii) creating, perfecting or enforcing any lien or
        encumbrance on account of such Released/Exculpated Claim; (iv) asserting any
        right of setoff (other than setoffs exercised prior to the Petition Date), or
        subrogation of any kind against any debt, liability or obligation on account of or in
        connection with or with respect to any Released Claims or Interests/Exculpated
        Claim; and (c) commencing or continuing in any manner or in any place, any action
        that does not comply with or is inconsistent with this provision; provided, however,
        that the foregoing injunction shall have no effect on the liability of any person or
        Entity that resultshas finally, judicially been determined by a court of competent
        jurisdiction to have resulted from any act or omission based on or arising out of
        gross negligence, fraud or willful misconduct; provided further, however, that the
        foregoing injunction does not apply to any actions taken with respect to any party’s
        obligations or remedies under the Plan, the Sale Order, the Asset Purchase
        Agreement or any other or any document, instrument or agreement (including those
        set forth in the Plan Supplement) executed to implement the Plan.

                F.    Term of Injunctions or Stays.

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions
        or stays in effect in the Chapter 11 Cases pursuant to section 105 or 362 of the
        Bankruptcy Code or any order of the Bankruptcy Court, and existent on the
        Confirmation Date (excluding any injunctions or stays contained in the Plan or the
        Confirmation Order), shall remain in full force and effect until the Effective Date.
        All injunctions or stays contained in the Plan or the Confirmation Order shall
        remain in full force and effect in accordance with their terms.

      The Plan also provides for the following definitions of “Released Party” and
“Releasing Parties”:

        “Released Party” means (a) the Debtors; (b) the DIP Lender; (c) Peter Kravitz, (d)
        Province, Inc., (e) the Creditors’ Committee’s advisors; (f) with respect to the
        foregoing in clause (a) such Entity’s current officers, directors and managers,
        financial advisors, attorneys, accountants, investment bankers, consultants,
        representatives and other professionals, in their capacity as such but specifically
        excluding Richard Godfrey, Todd Gentry, and Christopher Hunter and any entities
        affiliated with the same of any nature, and (g) with respect to each of the foregoing
        in clauses (b) through (e) such Person’s or Entity’s predecessors, successors and
        assigns, current and former Affiliates, subsidiaries, beneficial owners, current or
        former officers, directors, managers, principals, shareholders, direct and indirect


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        equity holders, general partners, limited partners, and members, in their capacity
        as such.

        “Releasing Parties” means each of: (a) the Debtors; (b) the Creditors’ Committee’s
        advisors; (c) all holders of Claims that vote to accept or are deemed to accept the
        Plan and who do not affirmatively opt out of the releases provided by the Plan by
        checking the box on the applicable ballot or notice indicating that they opt not to
        grant the releases provided in the Plan; (d) all holders of Claims or Interests that
        abstain from voting on the Plan and who do not affirmatively opt out of the releases
        provided by the Plan by checking the box on the applicable ballot indicating that
        they opt not to grant the releases provided in the Plan; and (e) all holders of Claims
        or Interests that vote to reject the Plan and who do not affirmatively opt out of the
        releases provided by the Plan by checking the box on the applicable ballot or notice
        indicating that they opt not to grant the releases provided in the Plan; and (f) with
        respect to each of the foregoing entities in clauses (a) through (f), each and all of
        such entities’ direct and indirect current and former: equity holders, affiliates,
        predecessors, participants, successors and assigns, parents, subsidiaries, partners
        (including general partners and limited partners), managed accounts or funds,
        management companies, fund advisors, investors, beneficial owners, managing
        members, directors, managers, officers, principals, controlling persons, employees,
        agents, financial advisors, partners, attorneys, accountants, investment bankers,
        consultants, representatives and other professionals, advisors, and representatives,
        and each and all of their respective heirs, successors, and legal representatives.

Dated: [●]June [●], 2023              /s/ DRAFT
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